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                   EXHIBIT 4
        УНу$ач  Umar Оагаг & Со. Document 599-4 Filed 03/20/22 Page 2 of 65
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                Chartered Ассопап$




        ОА AFGHANISTAN ВАЫК
        CОNSОLIDATED FINANCIAL STATEMENTS
        ГОН ТНЕ YEAI ENDED QAWS 30, 1399
        (DECEMBER 20, 2020)




       ЦНУ Shafig Umar Daraz Со. Снапегед Ассоыпап - А member firm Ы 1НУ lnternational (ЦК)
6- 32, 2п Floor, Muslim Business Сепге (АIВ Building), На)' Уа ооЬ 5цаге, Shahre Naw, КаЬи1 Afghanistan
                                                               No: В-32, 2п loor
Case 1:03-cv-09848-GBD-SN Document 599-4 Filed 03/20/22 0ffice
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                                                        АIВ  Building,3
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                                                                           УаЯоЬ                                аге
                                                                                        Shahr-e-Naw, КаЬц1




(!1у
            5hafiq Umar Оага2 & Со
                                                                                        Afghanistan.
                                                                                        Те1:+(93) 7в9168000

             Chartered     Accountants                                                  Етаг1:www.uhy-af.com
                                                                                        %‚еЬ: гпfо@иhY-af.com




              INDEPENDENT AUDITОR'S I EPОR Т ТО ТНЕ SUPREME CОUNCIL ОF
                               ОА AFGHANISTAN ВАМК

opinion
We have audited the consolidated financial statements of Оа Afghanistan Bank (the Bank) and its
Subsidiary ("the Огор"), which comprise the consolidated statement of financial position as at 30 Qaws
1399 (20 December 2020), and the consolidated statement of profit and 1oss, consolidated statement
of other comprehensive income, consolidated statement of cash 1об and consolidated statement of
с1паг19е6 in equity for the уеаг then ended, and notes to the consolidated financial statements, including
а summary of significant accounting policies апд other ехр1апаогу information.
In оиг opinion, the accompanying consolidated financial statements ргебеп1 fairly, in а11 material
а6рес1б, the financial position of the (Згоыр as at 20 December 2020, and its consolidated financial
performance апд its consolidated cash flows for the уеаг then ended in accordance with the accounting
and reporting framework as б1а1ес in note 2 to the consolidated financial statements.

Basis for opinion
We conducted оиг audit in accordance with lnternational Standards оп Auditing (ISAs). Оиг
responsibilities under those б1апаг1б аге further described in the 'Auditor's Responsibilities for the
Audit of the consolidated Financial Statements' section of оиг report. We аге independent of the Group
in accordance with the International Ethics Standards Воагд for Accountants' Соде of Ethics for
Professional Accountants (IESBA Соде), and we have fuIfi11ed оиг other е1Ыса1 responsibilities in
accordance with the IESBA Соде. We believe that the audit evidence we have obtained is sufficient
ап appropriate to provide а basis for оиг opinion.


Emphasis of Маннег
We сга attention to note 19.3 to the consolidated financial statements, which states that the Вап1 s
not in compliance with Article 74 of the ОАВ 1а         hich requires the Вап1 to limit its foreign сиггепсу
liabilities ир to 50°/о of its unimpaired capital ап reserves, which ог1б оы11О Ье Afs 94,828.557 million
as at 30 Qaws 1399 (20 December 2020). Foreign сиггепсу liabilities of the Вап1 as at the said а1е
stand at Afs 142,305.073 million, resulting in foreign сиггепсу liabilities exceeding the prescribed limit
Ьу Afs 47,476.515 million as at the уеаг епд. Оиг opinion is not qualified in гебрес11О this matter.

Кеу Audit Майегб
Кеу audit matters аге those matters that, in оиг professional judgment, еге of гпоб1 significance in оиг
audit of the consolidated financial statements of the снггеп1 period. These matters еге addressed in
the соп1ех1 of оиг audit of the consolidated financial statements as а whole, and in forming оиг opinion
thereon, and we до not provide а separate opinion оп these matters.

               Кеу Audit Маннег                         Ноил the matter was addressed in оиг audit
  Ассигасу of the Liability for "Сггепсу in
  circulation"

  Аб disclosed in notes 16 and 16.1 to the             We obtained ап understanding, evaluated the
  accompanying consolidated financial                  design, and 1еб1е the operating effectiveness
  statements, сиггепсу in circulation гергебеп1        of controls related to ргосебб for пен notes,
  the liability of the Bank 1оагб Ьап1 notes           expansion ап con1raction of Ьап1( notes in
  issued as а 1ega1 1епег ипдег the Chapter 1V
  Рагн 1 "Currency" of The Afghanistan Bank
                                                       circulation and cancellation of Ьап1 notes.
                                                                                                                оу
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               5hafiq Umar Оага2 & Со
               Chartered Accountants

                   Кеу Audit Маег                        Но the таttег ',аз addressed in оиг audit
 Law" (the ОАВ Law) which comprise of 50% of            We analyzed the changes in the liability for
 the total liabilities of the Bank.                     bank notes in circulation during the уеаг
                                                        together with the underlying герогб of banking
 1n view of the significance of liability in relation   апд issue department.
 to the consolidated financial statements of the
 Огоир and complexities in the underlying               We considered the completeness of the
 ргосеббеб relating to issuance of пе notes,            liability Ьу inspecting the уеаг-епд statement
 expansion апд contraction of bank notes in             of affairs of the Issue Circles. Further, we
 circulation апд cancellation of bank notes, we         регоггпес cut-off procedures оп expansion
 have considered the existence ап                       ап contraction of bank notes to assess the
 completeness of liability as а key audit гпаег.        completeness of the уеаг-епд balances of the
                                                        liability.
 Note: 16
                                                        We considered the requirements of the ОАВ
                                                        Law with regard to underlying assets backing
                                                        the bank notes in circulation and tested its
                                                        compliance with the relevant information
                                                        provided Ьу the Bank.

Balances with International Мопеагу Fund
(IMF)

Аб рег thе arrangement Ье ееп the Bank and              Оиг audit procedures to address the risks of
'МЕ, as Trustee of the Роегу Reduction and              material misstatement relating to liability with
Ого'л' Тгцб, the МоЕ has Ьееп granted ап                lnternational Monetary Fund, included sending
ехепс]еб credit facility 1оап (ЕСЕ loan)                direct confirmation to 'МЕ, checking the SDR
equivalent to SDR 80.95 million for а period of         amount from 'МЕ website, апд subsequently
 еп уеагб which is non-interest bearing.                testing the exchange гаеб used to translate Ыб
                                                        amount а1 the closing date. 1п addition, оиг
Liabilities with ‚МЕ гергебепб агоп] 0.62°/о of         procedures included examination of ге1еап
the total liabilities of the Вап . The valuation of     documents of ‚МЕ оп SDR allocation during the
liabilities with International Мопеагу Fund ('МЕ)       уеаг and re-computation to confirm the amount
was considered significant to оиг audit as that         of liabilities with 'МЕ using the prevailing
gives rise to foreign сиггепсу translation              conversion rate as рег 'АЗ 21.
requirements and periodic interest accruals.

Note: 20, 20.1, 20.2 8 20.3.

Valuation of GoId Reserves

The Вап1( maintains gold reser es equivalent to         Оиг audit procedures included reviewing the
Аб. 101,770.256 million, which is опе of the            valuation methodology adopted апд received
asset backing for оеб in circulation. The               conformation letter from Federal Reserve Вап1(,
valuation of the gold is carried out in line with       New Уог1( (ЕВ) as the Вап1('б international
the international market which is subject to            reserve of goid. Оиг procedures а1бо included
market volatility and other external есопоггйс          recalculation of gol а1ие in line with prevailing
юасогб. Given the unique па ге of the asset,            market rate ап management's assessment of
the valuation methodology adopted and                   asset backing for С ггепсу in circulation.
associated risks, it was considered significant to
оиг audit.

Note: 6.7, 7 а 7.1.                                                                                         ину
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ПН
               Shafiq Umar Оага2 & Со
               Chartered Accountants

               Кеу Аидгн Маннег                       How the таннег "чаз addressed in оиг audit
 Foreign investments

 The ВапС'$ assets held in foreign investments       Оиг key ргосеогез included the following:
 amount to Afs 368,813.78 million (1398:
 218,264.106 million), equivalent to 47 °/о (1398:   For direct investments we obtained
 31°/о) of the Вап 'б оа1 assets as summarized       understanding of the ргосеззез, assessed the
 Ье1о as рег note 9 to the Consolidated              design апд implementation апд tested
 Financial Statements:                               effectiveness of key controls throughout the
                                                     уеаг о"ег recognition, дe-recognition and
                                                     valuation of investments апд геиаес ге епое.
  Туре of security and торе of         Агяоп in
  investment                           million Afs
                                                     For а11 investments, we зеп1 direct confirmations
  US treasury bonds and other
                                                      о counter-parties to confirm the balances of
  securities — through International
                                                     investment holdings апд where relevant,
  Вап or Reconstruction апд              187,121     рег1оггпе physical verification of other
  Development (IBRD)
                                                     investments.
  US treasury bonds — direct                4,149
  investment                                         For investment in US геазгу Bonds, where
  US treasury bills                      145,693     valuation techniques with inputs Ьазес
  USD denominated Government                         оп observaЫe глаге data еге used,
  Bonds, foreign currency зарз                       evaluating the appropriateness of the valuation
  апд other interest bearing              30,417     methodologies апд the reasonaЫeness of the
  securities — through Bank for                      assumptions, and verifying the inputs to
  International Settlements                          independent зоыгсеб.
  investment Роо1— А
  Shares in ЕСОТОВ                          1,434    For investments through РАМР апд BlS, where
                                                     valuation techniques with inputs пы Ьабе оп
                                                     observaЫe market data еге used, evaluating
 The valuation and presentation of the foreign       the appropriateness of the valuation
 investments in the consolidated financial           methodologies апд the reasonaЫeness of the
 statements робе significant audit risk.             assumptions апд inputs. We received апд
                                                     reviewed the valuations report ог иезе
 1n view of the significance of these investments    securities.
 in reIation to the total assets, the variation in
  уре of investments and their management            Рог ЕСОТОВ investments we verified the
 (involvement of Рцпс Мападегз, Custodian and        payments to the investee and reconciled the
 in-house еагя) we иае considered "foreign           confirmations with the books of accounts.
 investments" as key audit гпа1ег.
                                                     Further, in respect of the а11 investment таре
                                                     through fund гпападегб:
 Note: 10.
                                                             We obtained Туре 2 report гогл
                                                             Custodian to assess иа controls еге
                                                             suitaЫy designed Ьу Custodian and
                                                             operated effectively in respect of its
                                                             activities.

                                                             We obtained the monthly statement of
                                                             сиап9е3 in пе assets provided Ьу the
                                                             Custodian used Ьу management for
                                                             recognizing income in respect of foreign
                                                             сггепсу securities and гасе      ith the
                                                             accounting гесогсиз of the Bank to
                                                             assess иа hey аге accurately
                                                             recorded.
                                                                                                         и►4у
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(!Ну
              Shafiq Umar Оагаг & Со
              Chartered Accountants

                 Кеу Audit Маннег                   Нол the таннег wаs addressed in оиг audit

                                                       -   We performed substantive audit
                                                           procedures оп уеаг-епд Ьа1апсе of
                                                           portfolio including evaluation of Fund
                                                           Мападегб' апд Custodian's statements,
                                                           апд гe-performance of valuations оп the
                                                           basis of observaЫe data а he уеаг
                                                           end.

                                                       -   We also evaluated the асе асу of the
                                                           overall disclosures in the financial
                                                           statements in гебрес of the investment
                                                           portfolio in ассогсапсе with the
                                                           requirements of арр1гсаЫе financial
                                                           reporting framework.

1пегеб 1псоте

1пегез income has significantly decreased Ьу       We recalculated пегеб income оп
Afs 4,230.021 million (44.41%) although            investments and term deposits to ensure that it
investment Ьаб increased Ьу Afs 150,549.674        is correctly calculated.
(68.98%).
                                                   We checked the МопЫу Holding Герог
 Аб disclosed in the consolidated пЫе to the       provided Ьу The ог1с l3ai to verify ассгиед
  Iinanial заегпеп 26.1, ог managing сгес1
 risk after Covid-19 pandemic, the BanI has        interest income аб at 209" December 2020. We
 liquidated some of its term deposits апд р1асед   aiso verified the interest 1 соироп га еб апд
 these агпопб in US treasury bi11s having lower    Уа1ие of investment in RAMP from the same
 credit risk resulting in lower interest income.   героrt.

Г4ое: 26 & 10.                                     We checked the swi осыгпепб of treasury
                                                   Ьопсб апд bi11s issued Ьу the US Teeasury to
                                                   verify interest / соироп гаез, саеб апд
                                                   purchase price of these investments.

                                                   We verified а sample of interest income оп сан
                                                   accounts апд overnight deposits from swift
                                                   messages.

                                                   Further, we performed cut-off procedures оп
                                                   interest income to assess the согяр1еепебб of
                                                   the income.




                                                                                                     Щ4у
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               5hafiq Umar Daraz & Со
               Chartered Accountants

                                                     Нон the таннег 'ыаз addressed in оиг audit
 1пегез Ехрепбе

 1пегеб expense has significantly increased Ьу We recalculated interest expense оп capital
 Afs 487.283 million (278.20%о). As disclosed in notes to ensure that interest expense is
 the consolidated note to the financial statement соггес1у recorded.
 #27, during the уеаг, interest expense оп capital
 notes has significantly increased because
 carrying агяоп of capital notes increased from We aiso verified interest rates and principle
 Afs 24,775.173 million to Afs 45,849.384 million агпоп of capital notes from the supporting
 and аегае interest rates оп these notes has documents to confirm ассигасу of the interest
 increased Ьу тоге than доиЫе.                     expense

 Мое: 27.


 Net loss from deaiings in foreign сиггепсу

 Net gain from dealing in foreign currencies has    We obtained complete listings of transactions
 decreased Ьу Afs 21,164.019 million (101%о).       of foreign с ггепсу deaiings and re-calculated
                                                    exchange gain ог loss оп selected
As disclosed in the consolidated note to the        transactions.
financial statement #28, During the уеаг,
Afghani appreciated against foreign currencies      We checked supporting documents 10г sample
including US dollars. As а гебЫ, the BanI           of sale ап purchase transactions of foreign
incurred loss оп saie of those foreign currencies
which еге purchased а higher rates in               currencies that resulted in exchange gain ог
previous уеагз.                                     1oss.

1ЧЫе: 28.


1Т systems and controls омег financial
reporting

We identified 1Т systems ап 1Т general controls     Оиг audit approach relies оп automated
оуег financial reporting аб а key audit гяаег       controls апд therefore procedures were
because of the pervasive nature апд complexity      designed to еб ассезз and control over 1Т
of the 1Т environment, the extensive volume of
transactions processed daiiy and the reliance of    systems and Ыиапдез to such systems. Given
the Group's financial accounting and reporting      the speciaiized nature of Ыб агеа of audit, we
ргосебб оп 1Т systems and controls                  invoived оиг specialist 1Т team to assist with оиг
                                                    audit procedures. We:

                                                            obtained ап understanding of the 1Т
                                                             оегпапсе over the Group's 1Т
                                                            organization;

                                                        -   identified the key 1Т Systems and
                                                            application controls which еге integral
                                                            to the Group's financial reporting;

                                                            Evaluated the design, implementation
                                                            апд орега1п9 effectiveness of 1Т
                                                            general controls covering ьиап9е             у ну
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 УНу
                5hafiq Umar Daraz & Со
                Chartered Accountants

                 Кеу Audit Маннег                      Нон the matter ча addressed in оиг audit
                                                             management, ассебб гпапаегпеп and
                                                             1Т operations оег in-scope $у51егл6
                                                             and significant accounts-related 1Т
                                                             automated controls which еге critical
                                                             to financial reporting; and

                                                          -   We tested the ассигасу and
                                                              completeness of key computer
                                                               епегаес герог     sed in our audit.


Materiality

The scope of ог audit was influenced Ьу оиг application of materiality. We set certain quantitative
thresholds ог materiality. ТЬезе together with qualitative considerations, heiped us to determine the
scope of ог audit ал he паыге, timing ап extent of оиг audit procedures оп the individual financial
statements line items and disclosures апд in evaluating the еес of misstatements, ЬоЬ individually
ап in aggregate оп the financial statements as а whole.
Based оп оиг professional       еглеп, we determined materiality ог the financial statements as а
whole as follows:

                                    Огоир financial statements         The Bank financial
                                                                       statements
 Оverall materiality
 Но"ч we determined it              For Statements of Financial        For Statements of Financial
                                    Position 1% of total assets, For   Position 1% of total assets, For
                                    Statements of Рго ог Loss 5%       Statements of Profit ог Loss 5°/о
                                    of average Г4е РгЫ of last 3       of average Net Рго of last 3
                                    years.                             years.

 Rational ог benchmark             ОАВ is the Central Вап of Afghanistan, mainly геНез оп its assets
 applied                           to орегае and а11 of its procedures and policies гео1е агоипд
                                   maintaining assets in order to have higher returns гогп егп. So,
                                   total assets зе1есе as benchmark for materiality of заегпеп of
                                   financial position and average пе profit for заегпеп of profit ог
                                   loss as the пе рго has significantly declined during the уеаг.

Performance materiality is the application of materiality а the individual ассоп ог balance 1е',е1. 1t is
зе1 а1 ап агпоп to гедисе to ап appropriate 1ow 1е~е1 the probability that the aggregate of uncorrected
and undetected misstatements exceeds materiality.

Оп the basis of оиг risk assessments together with ог assessment of the Group's overall control
environment, оиг judgement was that регоггпапсе materiality 'л,аз 75% of оиг planning materiality
namely ог гор financial statements ап or the зерагае financial statements of the Вап аге;
    - For заегпеп of financial position Afs 5,854 million; and
    - For statement of profit ог loss Afs 786 million.


Оther Information
1n connection with оиг audit of the consolidated financial statements, we have Ьееп informed Ьу the
management that there is по оВег information that is attached Ьу them along-with the consolidated           (А}Ч
financial statements and ог auditor's герог thereon.
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ПНП
                5hafiq 1Лгяа Daraz & Со
               Chartered Accountants

Responsibilities of Management and Those Charged with Оо егпапсе for Consolidated
Financial Statements

Management is responsiЫe for the preparation and fair presentation of consolidated financial
statements in accordance with the accounting framework as stated in пое 2 to the consolidated
financial statements апд for such internal control as management determines is necessary to епаЫе
the preparation of consolidated financial statements that аге гее from material misstatement, whether
дие to fraud ог еггог.
1n preparing the consolidated financial statements, management is responsiЫe for assessing Group's
ability to continue as а going сопсегп, disclosing, as арр1гсаЫе, гпаегб related to going сопсегп and
using the going сопсегп basis of accounting uniess management either intends to liquidate the Огоир
ог но cease operations, ог has по realistic alternative but to до so.
Those charged with оегпапсе аге responsiЫe for overseeing the Group's financial reporting ргосебб.


Auditor's Responsibilities for the Audit of the Consolidated Financial Statements
Оиг objectives аге to obtain геавопаЫе assurance about whether the consolidated financial statements
as а whole аге югее from material misstatement, whether дие to fraud ог еггог, ап o issue ап auditor's
report that includes оиг opinion. ReasonaЫe assurance is а high 1еiе1 of assurance, Ы s not а
   агапее that ап audit conducted in accordance with 1SAs wi11 а1 ауз detect а material misstatement
л'Ьеп it exists. Misstatements сап arise from fraud ог еггог ап аге considered material if, individually
ог in the адгедае, they сои1д геавопаЫу Ье ехресе o influence the economic decisions of users
taken оп the basis of these consolidated financial statements.
Аз рагн of ап audit in ассогдапсе with 1SAs, we exercise professional judgment and maintain
professional skepticism throughout the audit. We aIso:
    •   ldentify and assess the risks of material misstatement of the consolidated financial statements,
        whether дие to fraud ог еггог, design and регоггп audit procedures responsie to those risks,
        and obtain audit evidence that is sufficient and appropriate to provide а basis for оиг opinion.
        The risk of not detecting а material misstatement resulting from fraud is higher than for опе
        resulting from еггог, as fraud тау involve collusion, юогдегу, intentional omissions,
        misrepresentations, ог thе override of internal control.

    •   Obtain ап understanding of internal control ге1еап o the audit in огдег to design audit
        procedures that аге appropriate in the circumstances, Ы not for the purpose of expressing ап
        opinion оп the ееьи',епебб of the Group's internal control.

    •   Evaluate the appropriateness of accounting policies used ап        e reasonaЫeness of
        accounting estimates and related disclosures таре Ьу the management.

    •   Conclude оп the appropriateness of гпапаегпеп1'б use of the going сопсегп basis of
        accounting and, based оп the audit evidence obtained, whether а material uncertainty exists
        related to events ог conditions that тау саб significant doubt оп the Group's ability to continue
        as а going сопсегп. If we conclude that а material uncertainty exists, we аге гещлгес to draw
        attention in оиг auditors' report to the related disclosures in the consolidated financial
        statements ог, if such disclosures аге inadequate, to modify ог opinion. Оиг conclusions аге
        based оп the audit evidence obtained ир to the саюе of оиг auditors' героrt.

    •   Evaluate the overall presentation, structure ап сопюепю of the consolidated financial
        statements, including the disclosures, and whether the consolidated financial statements
        represent the underlying transactions ап events in а manner that achieves fair presentation.        (Л4У
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 ПНП
               5hafiq Umar Оага2 & Со
               Chartered Ассоцпап15

    •   Оbtain sufficient appropriate audit evidence regarding the financial information of the еп у to
        ехргезб ап opinion оп the consolidated financial statements. We аге responsiЫe ог the
        direction, supervision and performance of the audit. We remain soleiy responsiЫe ог оиг audit
        opinion.

We communicate with those charged with governance regarding, агт'оп other matters, the planned
эсоре and timing of the audit and significant audit findings, including апу significant deficiencies in
internal control that we identify during our audit.

We also provide those charged with governance with а за1егпеп that we have compiied with reievant
ethical геЫгегпепб regarding independence and to communicate with them а11 relationships ап other
matters that тау геавопаЫе Ье thought to Ьеаг оп оиг independence and where арр1гсаЫе, related
safeguards.

Егогп the matters communicated with those charged with governance, we determine those matters that
  еге of гпоз significance in the audit of the consolidated financial statements of the сггеп period and
аге Иегеоге the еу audit matters. We describe these matters in оиг auditors' report иnless 1aw ог
regulations precludes риЫгс disclosure аЬоы the matter ог when, in ехгегпену гаге circumstances, 'ме
determine that а matter should по1 Ье communicated in ог report Ьесазе the adverse consequence
of оип so would reasonsЫe Ье ехресес 1о outweigh the риЫгс interest Ьепеб of such
communication.
The епдадегпеп рагпег оп the audit resulting in Ыб independent auditor's report is Umar Daraz.


 Uiцy.si.     ' и,(kа" Ооуаа~
UHY Shafiq Umar Daraz & Со
Chartered Accountants        со С!?
0ае: 18 МагсЬ 2021      ~аti                  с~А
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Kabu1, Afghanistan    0
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                             ~Ру~'
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    вА AFGHANISTAN BANK
    CONSOLФATED STATEMENT ОГ FINANCIAL POSiТ10N
    AS АТ 30 iAWS 1399 (20 ОЕСЕМВЕП 2020)

                                                                                   30 Qaws 1399 30 Qaws 1398
                                                                                   (20 Оес 2020) (21 Оес 2019)
                                                                           Note    ---------- (Аз in '000') ------------
    ASSETS


      GoId reserves                                                          7          101,770,256       81,400,561
      ЕогеЁдп сиггепсу cash гезегез                                          8           34,167,341       19,583,336
      Оие from banks апд financial institutions                             9           254,677,074      355,570,353
      Investment5                                                           10          368,813,780      218,264,106
      Assistance аз 1епдег of 1аз resort                                    11              170,154          166,793
      АРапсез апР other receivaЫes                                          12            2,098,092        1,710,370
      Operating fixed assets                                                13            5,299,483        5,376,792
      lntangiЫe assets                                                      14                4,949           23,268
      Other assets                                                          15           13,535,171       13,491,650
    Тона1 assets                                                                        780,536,301      695,587,229

    LlA6II.ITIES АМО ЕО1ЛТУ

    1.IAB1l-1TIES

     Сиггепсу in circulation                                                16          293,341,380     259,348,259
     Capital поез                                                           17           45,849,384      24,775,173
     Оие to banks апд financial institutions                                18          100,079,198      97,224,024
     Оие to customers                                                       19          144,323,269     130,121,482
     ‚МЕ related liabilities                                                20            3,692,126       3,003,600
     Ое5пес contribution oЫigation                                          21            1,909,843       1,769,903
     Ое(еггеР дгапб                                                         22               83,098         142,182
     Provisions апд other liabilities                                       23            1,600,887      14,479,909
    Totalliabilities                                                                    590,879,185     530,864,532

    ЕОУ1ТУ

     Capital                                                                24           28,910,526      25,398,034
     Revaluation reserve                                                    24          103,427,178      82,273,898
     О1ег components of equity                                              24           29,900,217      31,652,731
     General reserve                                                        24           27,419,195      25,398,034
     Accumulated profits                                                    24                  -               -
    Tote1 equity                                                                        189,657,116     164,722,697

    TotaI liabilities апд equity                                                        780,536,3 01    695,587,229

    СОМТРЮЕ14С1ЕЗ AND COMMITMEWTS                                           25
                                                                                                                    Uиj
    Тйе а   ехед по       (о 39 !огт ап integral раrt of (йезе fiпancial з(а(егпеп($.




         : и - а 7п :агая                                                                    А    1Ahm• •у
     Acting СЫе( F ancial Оffгсег                                                            А • g Ооуегпог




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   ДА AFGHANISTAN ВАМК
  CОNSОLIDATE0 STATEMENT ОГ PROFIT ОП LOSS
  РОП ТНЕ УЕАП ЕНОЕО 30 QAWS 1399 (20 0 СЕМВЕП 2020)

                                                                                 30 Qaws 1399    30 Qaws 1398
                                                                                 (20 Оес 2020)    (21 Оес 2019)
                                                                     Note                 (Мб in 000')

    п1егеб income                                                     26             5,295,334       9,525,355
   lnterest expense                                                   27              (662,438)       (175,155)
  Net interest income                                                                4,632,896       9,350,200

   Рее апд commission income                                                           196,075         235,884
   Рее ай commission expense                                                          (167,243)       (141,207)
  Net fee and commission income                                                         28,832          94,677

    Net (loss) / gain from dealings in foreign currencies             28              (124,167)     21,039,852
    Net gain / (loss) оп financial assets measured а Е\ОС1                           3,012,121       2,239,367
    Other income                                                      29               547,838         807,632
                                                                                     3,435,792      24,086,851
  Operating income                                                                   8,097,520      33,531,728

  Operating expenses
   Personnelexpenses                                                  30            (1,738,150)     (1,711,974)
   Printing соб Ы Ьап) notes                                         12.3             (262,294)       (280,924)
   Other operating expenses                                           31              (475,771)       (515,426)
   Depreciation and amortisation                                   13.2 & 14           (87,652)       (104,330)
  Net operating income                                                               5,533,653      30,919,074

  Non-operating income and expenses:
   Deferred grants recognised аб income                               22                59,084         119, 244
   Expenditure against grants                                         32               (59,084)       (119,244)



  Net unrealised foreign exchange loss                               24.3           (1,752,514)     (1,688, 362)
  Profit for the уеа                                                                 3,781,139      29,230,712



  The аппехед notes 1 ю 39 [огт ап lntegral рагн о! these financial (а(етепЁз.




       Abdul Rah     п Barhaq                                                  А     1А if ду
     Acting СЫе 1    ancial Officer                                            Ас 44д Оо-егПог




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   ОА AFGHANI5TAN ВАИК
   CONSOI.IDATED STATEMENT ОГ СА$Н FLOWS
   РО ТНЕ YEAI ЕНОЕО 30 ОА $ 1399 (20 ОЕСЕМВЕ 2020)

                                                                                     30 Оанз 1399 30 Qaws 1398
                                                                                     (20 Оес 2020) (21 Оес 2019)
                                                                           Note      --------- (А!з in '000')
   Cash flows from operating activities
   Profit for the уеаг                                                                   3,781,139      29,230,712

   Adjustments:
    Depreciation апд amortisation                                          13.2              87,652        104,330
    Interest income                                                         26          (5,295,334)     (9,525,355)
    Interest ехрепзе                                                        27             662,438         175,155
    Ое(еггес grants recognised as income                                    22              (59,084)      (119,244)
    Expenditure against grants                                              32               59,084        119,244
    Recovery of ехрес1е6 сгесШ loss                                         29            (249,424)       (407,700)
    Inter-branch balances (уп11еп ьасю / гй1еп о!                                         (190,931)         26,117
                                                                                        (1,204,460)     19,603,259
   Working capital ас1]пвгюепз:
    Оесгеазе / (increase) in дие from banks апс financial institutions       9          25,223,897     140,790,268
    Decrease / (increase) in assistance as 1епдег of ‚аз! гезог!            11               (3,361)     6,795,092
    Decrease / (increase) in а апсез апд other receivaЫes                   12            (387,104)        316,523
    Decrease / (increase) in other assets                                   15                5,563           7,743
    Increase / (decrease) in сиггепсу in circulation                        16          33,993,121      31, 292,681
    Increase / (decrease) in дие to banks апд financial institutions        18           2,855,174       6,572,785
    Increase / (decrease) in се to customers                                19          14,201,787      (6,394,797)
    Increase / (decrease) in 'МЕ related liabilities                        20             688,526         584,816
    Increase / (decrease) in е1пе contribution oЫigation                    21             139,940          123,870
    Increase / (decrease) in provisions апд other liabilities               23              71,062         634,225
                                                                                        76,788,605     180,723,206
                                                                                        75,584,145     200,326,465
    Interest received                                                                    5,256,214       9,485,532
    Interest paid                                                                         (662,438)       (175,155)
    Огап! received                                                          22                               12,365
   Net cash flows fгот operating activities                                             80,177,921     209,649,207

   Cash flows from investing activities
    lnvestments таре during the уеаг                                                  (149,766,379)     (9,060,143)
    Net long-term assets of the subsidiary                                                                  (4,з62)
    Purchase of property апд equipment                                     13.2             (57,973)       (71,404)
    Purchase of intangiЫe assets                                            14                 (490)        (2,157)
   Net cash flows used in investing activities                                        (149,824,842)     (9,138,066)

   Cash flows from financing activities
    Receipts from / (Еераугпеп!з against) capital notes                                 21,074,211      (8,923,477)
    Payments of profit to МоЕ                                                          (12,759,153)    (2з,989,159)
   Net cash flows from / (used in) financing activities                                  8,315,058     (32,912,636)

    Net (decrease) / increase in cash апд cash equivalents                            (61,331,862)     167,598,505
    Cash а. = ash -uivalents at beginning of the уеаг                                 295,985,397      128,386,892
   Cash . • as equivalents at епд of the уеаг                               33        234,653,535      295,985,397

   тй ап ех     notes 1 to 39 Гогт ап integral рагf of these financial statements.                              ину


           АЬд r Rahman Barhaq                                                          а1 А ду
         Acting Ые! Financial Officeг                                                А п90 егпог




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   оА AFGHANISTAN ВАИК
   CONSOLIDATED STATEMENT OF OTHER COMPREHENSIVE 1NCOME
   FOR ТНЕ YEAI ЕНОЕО 30 ОАЧ5 1399 (20 DECEMBER 2020)

                                                                                            30 Оаз 1399 30 Оа\чз 1398
                                                                                            (20 0ес 2020) (21 Оес 2019)
                                                                                     Note           (А(з in 000')

   Profit (ог the уеаг                                                                         3,781,139     29,230,712

   Other comprehensive income

  Items that wi11 Ье reclassified subsequently to the consolidated profit
  апд ю зн account:

    Revaluation gain оп до1с генеге                                          7                20,369,695     15,221,968
    ('е( gains (гогя сапдез in fаir уа1ие of сеЫ instruments at FVOCI                            783,295      2,057,359
    Chaпges in allowances (ог ехрес(е сгебР loss of еЬ( instruments at ЕУОС1                         290         (1,317)
  Other comprehensive income for the уеаг                                                     21,153,280     17,278,010

  Tota1 comprehensive income for the уеаг                                                     24,934,419     46,508,722




   Тйе аппехед по(е$ 1 (о 39 [отт ап integral раг( of (йе.зе financial statements.




           Abdul Ra паИ 3arhaq                                                                   Ah
         Acting СЫе( Financial Officer                                                         g Со   Пог




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ОА AFGHANISTAN BANK
CONSOLIDATED ЗТАТЕМЕЫТ ОЕ CHANGES 1N EQU17Y
ЕО1 ТНЕ УЕА ЕиоЕо 30 QAWS 1399 (20 0ЕСЕМВЕ1 2020)

                                                                                 Revaluation reserve                           Other согоропеп!а of equity

                                                                     Net
                                                                 unrealised                                                            ResiduaI
                                                                gain / (loss)                                Tota1       Exchange undistributed      Tota1 other
                                                                                Freehold                                                                              General     Ассити1аtед
                                                    Capital     оп financial                 GoId        revaluation    translation net unrealised components of                                  Grand total
                                                                                  1апд                                                                                reserve       profits
                                                                  assets                                   reserve        reserve     valuation        equity
                                                                measured а[                                                             gains
                                                                 1air ча1ие

                                                                                                                            (А! in'000')


Ва1апсе at 30 Qaws 1397 (21 December 2018)         24,221,649     1,104,157     936,477    62,946,884     64.987,518          137      33,341,093     33,341,230     24,221,649           -       146,772,046
Impact of adopting 1FRS 9                                             8,233         -             -            8,233                          -              -              -        (809,218)       (800,985)
Ва1апсе at 01 Jadi 1397 (22 December 2018)         24,221,649     1,112,390     936,477    62,946,884     64,995,751          137      33,341,093     33,341,230     24,221,649      (809,218)    145,971,061

Tota1 comprehensive income for the уеаг.
   Profit for the уеаг                                                                                                                                                             29,230,712      29,230,712
     Other comprehensive income:
   Net gains from сап9еа in fair а1и е
of debt instruments at FVOCI                                      2,057,359                                2.057,359                                                                                2,057,359
С!ап9е in allowances for ехреснед credit loss of
debt instruments at FVОC1                                             (1,317)                                 (1,317)                                                                                  (1,317)
Revaluation gain оп до1! reserve                                                           15.221, 968    15,221,968                                                                               15,221, 968
Tota1 other comprehensive income                                  2,056,042          -     15.221,968     17,278,010                                                                               17,278,010
Tota1 comprehensive income for the уеаг                           2,056,042                15,221,968     17.278, 010                                                              29,230,712      46,508,722

Transactions гесогде югес!у in equity:
Тгапа!егге to capital                               1,176,385                                                                                                                      (1,176,385)
Тгапб!егге! to 9епега1 reserve                                                                                                                                        1,176,385    (1,176,385)
Тгапа!егге to net unrealised gain оп
fиancial assets measured а! FVOCI                                        137                                     137         (137)            -              (137)
Тгапа!егге1 to Ministry of Finance                                                                                                                                                 (27,757,086)   (27,757,086)
Тгапа!егге to residual undistributed net
  unrealised valuation gains                                                                                                           (1,688,362)    (1,688,362)                   1,688.362             -
Ва1апсе at 30 Qaws 1398 (21 December 2019)         25,398,034      3,168,569     936,477   78,168,852     82,273,898                   31,652,731     31,652,731     25,398,034           -       164,722,697

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ОА AFGHANISTAN ВАИК
CОNSО1.ATEО STATEMENT ОР CHANGES 1N ЕаТЛТУ
РОР ТНЕ УЕАА ЕЫОЕО 30 QAWS 1399 (20 ОЕСЕМВЕР 2020)

                                                                                   Revaluation reserve                         Оther сотропепнв of equity
                                                                         Net
                                                                    unrealised
                                                                                                                                       Residual
                                                                      gain оп
                                                                                                              Тона1      Exchange undistributed      ТоТа1 other
                                                                     financial    Freehold                                                                           General      Accumulated
                                                       Capital                                 Go1d       revaluation   translation net unrealised сотропепнв of                                 Огапс total
                                                                      assets        1апд                                                                             reserve        profits
                                                                                                            reserve       reserve     valuation        equity
                                                                   measured ан
                                                                                                                                        gains
                                                                     fаir а1пе
                                                                   through ОС1

                                                                                                                            (Аfs in'000')

Ва1апсе at 01 Jadi 1398 (22 ОесетЬег 2019)           25,398,034       3,168,569   936,477    78,168,852    82,273,898                  31,652,731    31,652,731     25,398,034                   164,722,697
Tota1 comprehensive income Тог the уеаг:
Рго1Т Тог the уеаг                                                                                                                                                                  3,781,139      3,781,139
Оther comprehensive income:
  Net gains Тгоя chaпges in fаir а1ие
     of ТеЬТ instruments at FVОC1                            -          783,295        -            -         783,295         -               -             -              -              -         783,295
     Change in а11оигапсез Тог ехреснед credit
     loss of еЬТ instrument5 at ЕУОС1                        -              290       -             -             290         -               -             -             -              -               290
  Revaluation gain оп gold reserve                           -              -         -      20,369,695    20,369,695         -               -             -             -              -        20,369,695
Tota1 other comprehensive income                                           ,585              20,369,695    21,153,280                                                                             21,153,280
Tota1 comprehensive income Тог the уеаг                                 783,585              20,369,695    21,153,280                                                               3,781,139     24,934,419
Tran5actions гесогдед directly in equity:
ТгапаТепед to capital                                 3,512,492                                                                                                                    (3,512,492)
ТгапаТеггес1 но уепега1 reserve                                                                                                                                      2,021,161     (2,021,161)
ТГап$(erred to residual net unrealised
  valuation gains                                                                                                                      (1,752,514)   (1,752,514)           -        1,752,514
Ва1апсе at 30 оаигв 1399 (20 есе Ьег                 28,910,526       3,952,154   936,477    98,538,547   103,427,178                  29,900,217    29,900,217     27,419,195                   189,657,116
7не аппехед поtеs 1 to 39 оп а пн         1рагf of these financial зТаТегпепТ$.
                                                                                                                                                                                                       ину



                              Abdul Ра ап Вагнац                                                                                                                  Атуа1
                                                                                                                                                                   Ь6я9 Аiiю
                                                                                                                                                                         от
                            Acting СМеТ inancial Оfficeг                                                                                                          А(~ng Gove ог




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  ОА AFGHANI5TAN ВАЫК
  ЫОТЕЗ ТО ТНЕ CONSOLIDATED FINANCIAL STATEMENTS
  FOR ТНЕ YEAR ЕЫОЕО 30 9AWS 1399 (20 ОЕСЕМВЕР 2020)

  1.   STATUS А0 NATURE ОЕ OPERATIONS

  1.1 Лпе Огоир согпрпбеб of 0а Afghanistan Вал ("the Bank") as the "РагеЫ entity" апд Afghanistan РаугпеЫб
      Systems (APS) as "the Subsidiary".

  1.2 Da Afghanistan Вап is the Central Bank of Afghanistan ап            as originally estaЫished in 1318 (1939) in
      ассогдапсе with Article 12 of the 1311 (1932) Constitution of Afghanistan. The Вап as operating ипдег the
      supervision of the Ministry of Finance (МоЕ), Government of Islamic RepuЫic of Afghanistan. Subsequently,
      during the transitional доегпгтеЫ оп 27 Sunbula 1382 (18 September 2003), Da Afghanistan Вап Law ("the
      ОАВ Law") of the Islamic RepuЫic of Afghanistan 'аб enacted ап he Вап                   as re-estaЫished as ап
      independent 1ega1 entity. This а ап the сапде in the Bank's status еге ratified Ьу ап агпепбгпеЫ to
      Article 12 of the Constitution of the Islamic RepuЫic of Afghanistan in .)ас5 1382 (January 2004).



  1.3 As рег the ОАВ Law, the Вап 'б main objective is to асЫее апд maintain domestic ргсе stability with other
      оЬ)ес еб to foster the liquidity, solvency ап effective functioning of а staЫe гяаге based financial зу5егп.
      Те Bank also controls monetary ап exchange policy, гпападеб reserves апд асб as а Ьап) , advisor ап
      fiscal адеп o the оегпгпеп of Islamic RepuЫic of Afghanistan ап other бае governed bodies.


  1.4 Registered office (Неад Office) of the Вап s situated in КаЬИ1. As а 30 Оа'б 1399 (20 0есепЬег 2020),
      the Вап operates with 48 (1398: 48) branches.

  1.5 Details ап            of the Subsidiary of the Вап аге as follows:

       The Subsidiary аб incorporated as а limited liability сатрапу ап дЫ registered with Afghanistan Investment
       Support Адепсу, пою "Ministry of Соттегсе ап Industry (МОС1)" оп January 31, 2011 ипдег license
       питЬег D-37351. ТЬе Сатрапу has its registered office located а! Ноцбе Го.29, Street 8, [,апе 1 District 10,
       КаЬИ1 Afghanistan.

       The Bank purchased 100°/о shares of APS ю.е/. 01 January 2019 (11 аа      1397).

       The Subsidiary operates ипдег the umbrella of Da Afghanistan Вап (ОАВ) as the national е-раугпеп! switch
       of Afghanistan. The Subsidiary sha11 рго е support to estaЫish ап electronic fund !гапбег р1анfогт ог
       shared А огпа!е Те11ег МасЫпеб (АТМб), сгеаНоп of shared mobile banking infrastructure and the initiation
       of point of sale с!елсез. The Subsidiary has launched domestic сагд scheme (АРау) with the support of the
       Вап! to епЬапсе ап ргогпо!е financial inclusion.

  2.   STATEMENT ОЕ COMPLIANCE

       ТЬе consolidated financial statements have Ьееп ргерагед in ассоЫапсе with lnternational Financial
       Reporting Standards (IFRSs) as issued Ьу the International АссоцпНпд Standards Воагд (IASB), the
       requirements of Вне ОАВ Law апд accounting policies ог gold апд silver, bank notes апд coins as б1а!е n
       notes 6.7 ап 6.13 respectiveIy. Where the requirements of the ОАВ Law ап accounting policies аор!е Ьу
       the Огоир differ with requirements of IFRSs, the requirements of ОАВ Law ап accounting policies аор!е
       Ьу the СЗгоир take precedence.

       ТЬебе consolidated financial statements comprise consolidated statement of financial position, consolidated
       statement of profit ог 1oss, consolidated statement of other comprehensive income, consolidated statement of
       cash 1оюб, consolidated statement of сЬапдеб in ещ!у and the accompanying notes.
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  оА АРОНАИ13ТАИ ВАИК
  ЫОТЕЗ ТО ТНЕ CON8OIIDATED FINANCIAL 8ТАТЕМЕЫТ$
  РОВ ТНЕ ТЕАВ ЕЫОЕО 30 QA $ 1399 (20 ОЕСЕМВЕК 2020)



       Уеаг епд of the Subsidiary is 31 December 2020 (10 Jadi 1399). During 21 December 2020 !о 31 December
       2020, по significant change in the financial statements of the Subsiдiary оссиггед.

       The compliance status of 1FRSs i$ as follows:
                                                                                                Compliance
                                                                                                Status
        IAS 1: Presentation of Financial Statements                                             Complied
        IAS 2: Inventories                                                                      Complied
        IAS 7: Statement of Cash Яоз Complied                                                   Complied
        IAS 8: Accounting Policies, Changes in Accounting Estimates апд Еггогз                  Complied
        IAS 10: Ееп!з а!ег the Reporting Period                                                 Сотр1гед
        IAS 12: 1псоте Тахез                                                                    Сотр1гед
        IAS 16: Ргореrtу, Plant апд Equipment                                                   Complied
        IAS 19: Етр1оуее Вепе!з                                                                 Not Арр1гсаЫе
        IAS 20: Accounting ог Government Огап!з апд Disclosure of Government Assistance         Complied
       IAS 21: Те Еес!з of Changes in Foreign Exchange а!ез                                     Complied
       IAS 23: 13orrwing Соз!з                                                                  Complied
       IAS 24: Related Рагну Disclosures                                                        Complied
       IAS 26: Accounting апд Reporting Ьу Retirement Benefit Plans                             Not Арр1гсаЫе
       IAS 27: Separate Financial Statements                                                    Complied
       IAS 28: Investment in Associates апд Joint Ventures                                      Not Арр1гсаЫе
       IAS 32: Financial lnstruments: Presentation                                              Complied
       IAS 33: Earnings Рег Share                                                               Not Арр1гсаЫе
       IAS 34: lnterim Financial Reporting                                                      Not Арр1гсаЫе
       IAS 36: lmpairment of Assets                                                             Complied
       IAS 37: Provisions, Contingent Liabilities ап Contingent Assets                          Complied
       IAS 38: lntangiЫe Assets                                                                 Complied
       IAS 40: Investment Ргореrtу                                                              Not Арр1гсаЫе
       IAS 41: Agriculture                                                                      Not АррНгсаЫе
       IFRS 1: йгз! time Adoption of International Financial Reporting Standards                Not Арр1гсаЫе
       IFRS 2: Share Ьазес Payment                                                              Not Арр1гсаЫе
       IFRS 3: 1usiness Combinations                                                            Complied
       IFRS 4: 1пзгапсе Соп!гас!з                                                               Not Арр1гсаЫе
       IFRS 5: Non-current Assets Не1д ог SaIe ал Discontinued Operations                       Not Арр1гсаЫе
       IFRS 6: Exploration ог апд Evaluation of MineraI Гезоыгсез                               Not Арр1гсаЫе
       IFRS 7: Financial lnstruments: Disclosures                                               Complied
       IFRS 8: Operating Segments                                                               Not Арр1гсаЫе
       IFRS 9: Financia пз!гшт'еп!з                                                             Complied
       IFRS 10: СолбоНа!е Financial Statements                                                  Complied
       IFRS 11: Joint Аггап9епеп!з                                                              Not Арр1гсаЫе
       IFRS 12: Disclosure of Interests in Other Entities                                       Complied
       IFRS 13: Fair УаIие Measurement                                                          Complied
       IFRS 14: е91Ла!огу Deferral Ассоп!з                                                      Not Арр1гсаЫе
       IFRS 15: Ееепе гогя Соп!гас! with Customers                                              Complied
       IFRS 16: Leases                                                                          Not Арр1гсаЫе

       IFRS 16 has not Ьееп applied as еазе агпоп! is not signicant.

  3.   ЕМСТ1ОМА1 АМО PRESENTATION CURRENCY

       These consolidated financial statements аге ргезеп!ес in Afghani (Аз), which is the Огоцрз functional апд
       presentation сиггепсу.
                             ишу



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  ОА АРСНАI115ТА1i ВАИК
  ЫОТЕЗ ТО ТНЕ сОNЗО1.ФАТЕО F1I А NIAL STATEMENTS
  РОI ТНЕ УЕА1 Еиввв 30 ОА'9 1399 (20 ОЕСЕМВЕ 2020)


  4.   BASIS ОЕ РГЕРАРАТ1ОМ AND MEASUREMENT

       These consolidated financial statements have Ьееп ргерагед оп the historical соз convention, ехсер or до1
       reserves, foreign currency cash reserves, some investments апд few items of operating fixed assets as
       геегге to in their respective notes which have Ьееп герог1ед at revalued атоипнв.

  5.   Ые'ч апд атепдед standards апд in1erpretations that аге not уе effective

       А number of пе standards апР amendments to standards аге effective ог аппиа1 periods beginning а1ег 21
       December 2020 апд earlier application is permitted; however, the Group has not еаг1у adopted the пе апд
       агпепРеР standards in preparing these consolidated financial statements.

       The following пе' апд атепдед standards аге not ехрес1еР to have а significant impact оп the Огоцрз
       consolidated financial statements:

       — Oneroi s Contracts — Со$1 of Fulfilling а Contract (Amendments to IAS 37).
       - COVID-19-Related Rent Concessions (Amendment to IFRS 16).
       — Ргорегну, P1ant апд ЕсЫргпеп1: Ргосеес1а Ьеоге Intended Use (Amendments to IAS 16).
       — Reference to Conceptual Framework (Amendments to IFRS 3).
       — Classification of Liabilities as Сггеп1ог Ыоп-сцггеп1 (Amendments to IAS 1).
       - IFRS 17 Insurance Contracts апд amendments to IFRS 17 lnsurance Contracts.

  б.   SUMMARY ОЕ SiОN1F1CANT АССОУМТ1ЫО POLICIES

       The accounting policies adopted in preparation of these consolidated financial statements аге consistent with
       11озе followed in the preparation of the аппиа1 financial statements of the Group ог the уеаг епдед 30 Qaws
       1399 (20 December 2020).

       6.1 Foreign спггепсу

            Transactions in foreign currencies аге translated into the functional currency of the Group at the spot
            exchange rate at the date of the transaction.

            Monetary assets апд liabilitiеs dеnominated in foreign currencies at the reporting date аге translated into
            the functional сиггепсу at the spot exchange га!е at reporting date. Non-monetaгy assets апд liabilities
            denominated in foreign currencies that аге measured at fair ча1ие аге retraпslated into the functional
            сиггепсу at the spot exchange rate at the date that the fair а1ие *аб determined. Non-monetary assets
            апд liabilities that аге measured in terms of historical cost in а foreign сиггепсу аге translated using the
            exchange rate at the date of the transaction.

            Гог the ри гробе of retranslation as а1 20 December 2020, the Afghani exchange га1еб used ог the major
            currencies еге:

                                                                                    30 Qaws 1399       30 Qaws 1398
                                                                                    (20 0ес 2020)      (21 0ес 2019)

            USD                                                                          77.11                  78.41
            Е1)1                                                                         93.73                  86.90
            СВР                                                                         102.89                 101.80
            РКЕ                                                                           0.48                   0.50
            SAR                                                                          20.38                  20.84
            АЕD                                                                          20.92                  21.36
            СА0                                                                          43.35                  43.35
            SDR                                                                         111.34                 108.02
                                                                                                                     ину

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          Exchange differences arising оп the settlement of monetary items ог оп translating monetary items а
          гаез different from those а     ich they еге translated оп initial recognition during the period ог in
          previous financial statements аге recognised in statement of profit ог loss in the реггод in which they
          arise.

          When а gain ог loss оп а поп-гпопеагу item is recognised in consolidated statement of other
          comprehensive income, апу exchange согтропеп1 of that gain ог loss is also recognised in consolidated
          statement of other comprehensive income. Conversely, when а gain ог loss оп а non-monetary item is
          recognised in consolidated statement of рго1 ог 1oss, апу exchange component of that gain ог loss is
          also recognised in consolidated statement of profit ог 1oss.

     б.2 Interest income апд expense

          Interest income апд expense аге recognised in consolidated statement of ргоШ ог loss using the
          effective interest method. Т1 е 'effective interest rate' i$ the rate that ехас1у discounts the estimated
          future cash раугпеп$ ап receipts through the ехресес life of the financial asset ог liability (ог, 4,еге
          appropriate а shorter period) to the carrying amount of the financial asset ог liability. When calculating
          the effective interest rate, the Сгоир estimates future cash flows considering а11 contractual еггпб of the
          financial instrument, Ьц пы future credit losses.

          Т1ю calculation of the effective interest rate includes а1 еез рас ог received that аге ап integral раг of
          the effective interest rate. Transaction costs include incremental costs that аге directly attributaЫe to the
          acquisition, issue ог disposal of а financial asset ог liability.

     6.3 Реев апд commission income and expense

          Еее апд commission income апд ехрепбез that аге integral to the financial asset ог liability аге included
          in the measurement of the effective interest raie.

          Other ее ап commission income, including ассоипс servicing ее, 1гапзег commission, branch
          coordination commission аге recognised as the related services аге реггогтед.

          Оther ее ап commission expense relates mainly to transaction емсе ее апд asset папаепеп
          services, which аге expensed as the services аге received.

     б.4 Taxation

          11псег Article 118.2 of the ОАВ 1а , the BanI is exempt from ахез оп income ог profits, personal
          ргореrtу ахез оп assets, taxes оп гапзег of funds and other financial transactions, stamp duties оп
          issuance of securities апд bank notes, customs duties, import duties, sales ахез, а1ие аддед ахез оп
          import of 9о1с, ЬапК notes апд согпв; апд sales ах оп domestic supply of до1Р, Ьап1 notes, апд согпв
          etc. Accordingly, по provision ог income ах has Ьееп таре in these consolidated financial statements.


     б.5 Financial assets апд financial liabilities

         Financial instruments carried оп the consolidateд statement of financial statement include foreign
         сиггепсу савн reserves, дие from banks ап inancial institutions, Investments, assistance as lender of
          аз гезог, а апсез ап other receivaЫes, other assets, сиггепсу in circulation, capital notes, дие to
         banks апд financial institutions, дие to сызопегз, IMF ге1ае liabilities, defined contribution oЫigation
         and accounts and provisions апд other liabilities. The particular recognition апд measurement methods
         аореР аге disclosed in the individual policy statements associated with еаси consolidated financial
         instrument.
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        6.5.1 Financial instruments — initial recognition

              АП financial assets аге initially recognised оп the гае date, i.e. the date at which the Огоир
              Ьесопез а рагу to the contractual provisions of the instruments. ТЫз includes purchases ог sale
              of financial assets that require delivery of asset within the time frame generally estaЫished Ьу
              regulations in market conventions.

              АН financial assets and financial liabilities аге measured initially at their fair 'а1це plus transaction
              созз, ехсер in the case of financial assets апд financial liabilities гесогдед at fair а1ие through
              profit ог loss where transactioп соз is а1еп directly to the profit and loss account. Апу difference
              Ьеншееп the fair а1ие of consideration giveп апд the amount dвtermined using the valuation
              techniques detailed in пое 6.5.14 is recognised in the consolidated statement of profit ог 1055.


        6.5.2 Classification апд subsequent measurement of financial assets апд liabilities

              The Сгоир classifies а11 of its financial assets based оп 1о criteria:

              i) The Group's business тоде1 for managiпg the assets; апд
              й) ие11ег the instruments' сопгаса1 cash flows гергебеп 'solely paymeпts of priпcipal апд
                 interest' (the SPP1 ез1') оп the principal amount outstanding, measured at either:

                 - Amortised cost, as explained in Note 6.5.3
                 - FVOCI, as explained in МЫез 6.5.4 апд 6.5.5
                 - Е\Ф'Р[. as explained in Note 6.5.6

              i) Вивбпе$5 тоде1assessment

              The Огоир determines it$ business тоде1 at the 1е~е1 that Ьеб reflects how it гпападеб дГ0Рб of
              financial assets to achieve its business objective.

              The Group's business тоде1 is not assessed оп ап instrument-Ьy-iпstrument basis, but at а
              higher 1е~е1 of aggregated portfolios апд is based оп observaЫe factors such as:

              - the stated policies апд objectives for the portfolio and the орегаИоп of those policies гп
              - how the performance of the portfolio is evaluated апд reported to management;
              - the risks that а!!ес1 the performance of the business model (апд the financial assets held
                within that business тоде1) апд how those risks аге managed;
              - the frequency, о1ите апд timing of sales гп prior periods, the геаопб for such sales апд its
                expectatioпs about !1ыге sales activiy. However, managiпg the Пnancial assets is achieved
                апд how cash Пows аге realised; апд
              - fiпancial assets that аге held for trading ог managed апд '11О$е регfогтапсе is evaluated оп а
                fair а1ие basis аге measured at FVPL Ьесабе 11еу аге neither held to collect contractual
                cash flows пог held both to collect coпtractual cash flows апд to se11 financial assets.

                 The business тоде1 assessment is based оп геавопаЫу expected scenarios without 1а1Рп
                   оГ$1 case' ог 'stress case' scenarios into account. 1f cash flows а!1ег initial recognition аге
                 realised in а нау that is different (гогп the Group's origiпal expectatioпs, The Огоир Роез not
                 сиап9е the classification of the remaining financial assets held in that business тоде1, but
                 iпcorporates such information *иеп assessing newly originated ог newly purchased financial
                 assets going !огчагР.




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              11) The SPP1 test

                 Аб а second зер of its classification ргосебб the Group assesses the contractual terms of
                 financial to identify whether Веу meet the SPP1 test.

                 'Principal' for the purpose of this test is defined as the fair а1ие of the financial asset at initial
                 recognition ап тау change оег the life of the financial asset. Те ГТОб significant elements
                 of 'interest' within а lending аггапдепеп аге typically the consideration for the time а1ие of
                 топеу апд crвdit risk. То make the SPPI assessment, the Group applies judgement апд
                 considers relevant !асогб such as the сиггепсу in which the financial asset is denominated,
                 апд the period for which the interest гаме is set. 1п making the assessment, the Group
                 considers:

                 - contingent ееп1б that оЫс1 change the amount апд timing of cash flows;
                 - leverage !еацгез;
                 - ргераугяепИ апд extension terms;
                 - terms that limit the Group's claim to cash flows !гогв specified assets (e.g. поп-гесоигве
                   asset arrangements); апд
                 - features that modify consideration of the time а1ие of топеу — e.g. periodical reset of
                   interest ганеб.

              The Group classifies апд measures its derivative апд trading portfolio at FVPL as explained in
              Notes 6.5.6 апд 6.5.8. The Group тау designate financial instruments at FVPL, if so doing
              eliminates ог significantly геРсеб measurement ог recognition inconsistencies, as explained in
              Note 6.5.6.

              Financial liabilities, о)иег than loan сопипиинпиепнз апд financial дагап1ееб, аге measured at
              amortised cost ог at FVPL        еп иеу аге held for trading апд derivative instruments ог the fair
              ~а1ие designation is аррИеР, as explained in Notes 6.5.6 апд 6.5.8.

        6.5.3 Financial assets at amortised cost

              Тие Group classifies its financial assets at amortized cost оп1у if both of the following conditions
              аге гпен:

              i) The asset is held within а business тоде1 whose objective is to hold assets to соииесн
                 contractual cash flows; апд

              ii) The contractual terms of the financial asset give rise оп specified dates to cash flows that аге
                  solely payments of principal апд interest оп the principal amount outstanding.

              After initial measurement, these financial instruments аге subsequently measured at amortized
              cost using the Effective interest Rate (E1R), less impaiпnent (if апу).

        6.5.4 оеЫ instruments at FVОCI

              The Group classifies its financial assets as debt instruments measured at FVОCI when both of:


              i) The asset is held within а business тоде1 Любе objвctive is асЫееР Ьу both collecting
                  contractual cash flows апд selling financial assets; апР
              ни) The contractual terms of the financial asset give rise оп specified dates to cash flows that аге
                  solely payments of principal апд interest оп the principal amount outstanding.

              These instruments largely согпргибе assets that иаР previously Ьееп classified as financial
              investments availaЫe-for-sale ипдег 'АЗ 39.
                                                            и"1
                                                                                                                          12
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              FVOCI debt instruments аге subsequently measured at fair value with gains апд losses arising
              дие to changes in fair value recognised in ОС'. Interest income апд foreign exchange gains апд
              losses аге recognised in consolidated profit ог loss statement in the same таппег as ог financial
              assets measured at amortised соз as explained in Note 6.5.3.

              Те ЕС1-в ог РеЫ instruments measured at FVOCI до not гедисе the carrying amount of these
              financial assets in the consolidated statement of financial position, which remains at fair value.
              lnstead, ап amount equal to the а11оапсе that would arise if the assets еге measured at
              amortised соб is recognised in ОС' as ап accumulated impairment amount, with а corresponding
              charge to the consolidated statement of profit ог Ioss. The accumulated Ioss recognised in ОС' is
              гесус1ед to the profit апд Ioss ироп derecognition of the assets.

        6.5.5 Equity instruments at FVOC1

              1роп initial recognition, the Огоир еиесюз to classify irrevocaЫy зогпе of юз equity investments as
              equity instruments at FVOCI м1'еп they гпее! the definition of 'Equity' under 1AS 32 Financial
              instruments: Presentation апд аге not held ог trading. Such classification is determined оп ап
              instrument-by-instrument basis.

              Gains ап losses оп !1езе equity instruments аге пеег recycled to profit. Dividends аге
              recognised in profit ог Ioss as other operating income when the right of the payment иаз Ьееп
              estaЫished, ехсер! when the Огоир benefits from such ргосеес!з as а гесо егу of part of the соб!
              of the instrument, in which сазе, such gains аге гесогдед in ОС1. Equity instruments а! FVOCI
              аге not зЬес! to ап impairment assessment.

        6.5.6 Financial assets апд financial liabilities at fair value through profit ог loss

              Financial assets ап financial liabilities in this са!едогу аге В,озе that аге not held for trading апд
              have Ьееп either designated Ьу management ироп initial recognition ог аге mandatorily required
              to Ье measured at fair value ипдег 1FRS 9. Management оп1у designates ап instrument at FVP1
              ироп initial recognition when опе of the following criteria аге met. Such designation is determined
              оп ап instrument-by-instrument basis:

              i) The designation eliminates, ог significantly reduces, the inconsistent !геа!гпеп! that оц1с
                  otherwise arise гоп measuring the assets ог liabilities ог recognising gains ог losses оп them
                  оп а different basis, ог
              ii) The liabilities аге рагн of а гор of financial liabilities (ог financial assets, ог both ипдег 1AS
                  39), which аге managed апд their регогпапсе еаиыа!е оп а fair value basis, in ассогдапсе
                  with а осгпеп!е risk management ог investment strategy, ог

              iii) The liabilities containing опе ог тоге етЬеддед derivatives, unless they до пою significantly
                   modify the cash flows that would otherwise Ье required Ьу the соп!гас!, ог it is с1еаг with Iittle
                   ог по analysis when а similar instrument is first considered that separation of the етЬеддед
                   derivative(s) is ргоЫЫ!ес1.
              Financial assets апд financial liabilities at FVP1- аге recorded in the consolidated statement of
              financial position at fair value. Changes in fair value аге гесогдед in profit ап Ioss. Interest
              еагпед ог incurred оп instruments designated at FVPI. is ассгиед in interest income ог interest
              ехрепбе, respectively, using the ElR, taking into ассоп! апу discounl/ premium ап qualifying
              transaction соз!з being ап integral part of instrument. Interest еагп! оп assets mandatorily
              required to Ье measured at FVP1 is гесогдед using соп!гас!а1 interest га!е.
                                                                                               ну




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        6.5.7 Financial liabilities at amortised cost

              Financial liabilities with а fixed maturity аге measured at amortised cost using the effective
              interes1 га1е. These include сиггепсу in circulation, capital notes, дие to banks апд financial
              institutions, дие to customers, 'МЕ related liabilities, деггпвд contribution oЫigation апд provisions
              апд other liabilities.

              Т1е ECLs for debt instruments measured at ЕVОС1 до not геЮсе the carrying amount of these
              financial assets in the consolidated statement of financial position, which remains at fair уа1ие.
              Instead, ап amount equal to the allowance that во1 arise if the assets еге measured at
              amortised cost is recognised in ОС1 as ап ассити1анед impairment amount, with а corresponding
              charge to the consolidated statement of profit ог 1oss. Те accumulated loss recognised in ОС1 is
              гесус1ед to the profit ог loss цроп derecognition of the assets.

        6.5.8 Derivative financial instruments

              Т1е Огоир uses derivative financial instruments which include !огагб, ! 1геб and swaps.
              Derivatives аге initially гесогдед at fair а1ие апд carried as assets when their fair а1ие is
              positive and as liabilities when their fair ',а1ие is negative. Derivatives аге re-measured to fair
              '‚а1ие оп subsequent reporting dates. The ге$Цап1 gains ог losses from derivatives аге included
              in the consolidated statement of profit ог 1oss.

        6.5.9 Derecognition of financial assets and financial liabilities

              i) Financial assets
              The Огоир derecognizes а financial asset when the contractual rights to the cash flows from the
              asset expire, ог when it гапз!егб the rights to receive contractual cash flows in а transaction in
                Ыс1 substantially а11 of the risks апд геагРб of ownership of the financial asset аге гапз!еггеР
              ог in which the Огоир neither гапз!егз пог retains substantially аИ of the risk апд геагсиз of
              ownership апд it Роеб not retain control of the financial asset.

              Оп derecognition of а financial asset, the difference Ьеншееп the carrying amount of the asset (ог
              the carrying amount а11осаеР to the portion of the asset derecognised) апд consideration
              received (including апу пе' asset obtained less апу пе liability assumeд). Also а11 cumulative
              gain ог loss that had Ьееп recognised in the оюиег comprehensive income, is recognised in the
              consolidated statement of profit ог 'овэ. Апу interest in the югапб!еггеР financial assets 1а1 qualгfy
              for derecognition that is сгеа1еР ог retained Ьу the Огоир is recognised as а эерагае asset ог
              liability.

              Н) Financialliabilities
              А financial liability is derecognised when the oЫigation ипдег the liability is dischargeд ог
              сапсе11ед ог expired. Where ап existing financial liability is гер1асед Ьу another from the same
              1епдег оп substantially different 1егтт'э, ог the 1еггпэ of ап existing liability аге substantially
              modified, such ап exchange ог modification is югеаюеР as а derecognition of the original liability
              апд the recognition of пе liability, апд the difference in the respective carrying amount is
              recognised in the consolidated statement of profit ог 1oss.

        6.5.10 lmpairment of financial assets

              Оverview of the ЕСI. principles
              The ЕСI allowance is based оп the credit losses expected to arise оуег the life of the asset (the
              lifetime expected credit loss (IТЕСI.), unless there has Ьееп по significant increase in credit risk
              since origin, in which case, the allowance is based оп the 12 months' expected credit Ioss
              (12тЕСI.). ТМе Огоцр'э policies for determining if there has Ьееп а significant increase in credit
              risk аге set out in Мо1е 36.1.




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              The 12тЕС1. is the portion of LTECLs that гергебеп1 the ЕС1б that result from default events оп
              а financial instrument that аге possiЫe within the 12 months after the reporting date.

              The Group has estaЫished а policy to perform ап assessment, at the епд of еаси reporting
              period, of whether а financial instrument's credit risk has increased signifiicantly since ini(ial
              recognition, Ьу considering the сиапде in the risk of default occurring оуег the remaining life of
              the financial instrument.

              Based оп the аЬо е ргосебб, the financial assets аге grouped into Stage 1, Stage 2 and Stage 3
              as described below:

              i) Stage 1: When financial assets аге first recognised, the Group recognises ап allowance based
                 оп 12mECLs. Stage 1 assets also include facilities where the credit risk has improved and the
                 1оап has Ьееп reclassified from Stage 2.

              й) Stage 2: When а financial asset has shown а significant increase in credit risk since
                 origination, the Group records ап allowance ог the 1ТЕС1з. Stage 2 assets also include
                 facilities, 1еге the credit risk has improved апд the asset has Ьееп reclassified from Stage 3.

              й) Stage 3: Financial assets considered credit-impaired (as outlined in Note 36.1.1). The Group
                 records ап allowance ог the 1ТЕС1з.

              Рог financial assets ог which the Group has по геавопаЫе expectations of recovering either the
              entire outstanding amount, ог а proportion thereof, the 9Г0ЗЗ carrying amount of the financial
              asset is гедисед. This is considered а (partial) derecognition of the financial assets.

              ТЬе calculation of ECLs
              The Group calculates ЕС1б based оп а three probability-weighted scenarios to measure the
              expected cash shortfalls, discounted at ап approximation to the EIR. А cash shortfall is the
              difference between the cash flows that аге Ре to ап entity in ассогдапсе with the contract апд
              the cash 1о'б that the entity ехрес16 to receive.

              The mechanics of the ЕСI calculations аге outlined Ье1о апд the key е1епеп1б аге, as ойоб:


              The probability of Default (Р0) is ап estimate of the likelihood of default оуег а given time
              horizon. А default тау оп1у иарреп at а certain time оуег the assessed period, if the facility has
              по1 Ьееп previously derecognised and is sti11 in the portfolio. The сопсер1 of Р0в is further
              explained in Note 36.1.2.

              The Ехробуге at Default (EAD) is ап estimate of the exposure at а future default date, taking into
              account ехрвснед сиапуеэ in the exposure after the reporting date. including repayments of
              principal апд interest, whether scheduIed Ьу contract ог otherwise, expected drawdowns оп
              committed facilities, апд ассгиед interest гогп missed payments. тие ЕА0 is further explained in
              Note 36.1.2.

              The 1.обб Given Default (LGD) is ап estimate of the 'овэ arising in the case 4,еге а default
              оссцгб at а given time. 1t is based оп the difference Ье1ееп the contractual cash 1о'б дие апд
              those that the 1епдег would ехрес! to receive, including €оп the realisation of апу collateral. 1t is
              usually expressed as а регсеп!аде of the EAD. The LGD is further explained in Note 36.1.2.


              тие maximum period ог which the credit Iosses аге determined is the contractual life of а
              financial instrument .пебб the Group has the 1ega1 right to са11 it earlier.

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              The mechanics of the ЕСI. method аге summarised below:

                 Stage 1
                 Те 12тЕС1. is calculated as the portion of 1ТЕС1б that гергезеп! the ЕС1б that гебцП from
                 default еепб оп а financial instrument that аге possiЫe within the 12 months а1ег the
                 reporting date. The Group calculates the 12тЕС1 allowance based оп the expectation of а
                 default occurring in the 12 months following the reporting date. These expected 12-month
                 default probabilities аге applied to а огесаб1 ЕАО апд multiplied Ьу the expected LGD ап
                 discounted Ьу ап approximatioп to the original EIR. ТЫб calculation i5 таде ог еас1 of the
                 three scenarios, as explained above.

                 Stage 2
                 When а financial assets has shown а significant increase in credit risk since origination, the
                 Group records ап allowance ог the LTECLs. The mechanics аге similar to those explained
                 above, including the use of multiple scenarios, but РОз ап 1.6Об аге estimated оуег the
                 lifetime of the instrument. The expected cash shortfalls аге discounted Ьу ап approximatioп to
                 the original EIR.

                 Stage 3
                 For financial assets considered credit-impaired (аз defined in Ыо1е 36.1.1), the Group
                 recognises the lifetime expected credit Iosses ог these loans. The method is similar to that ог
                 Stage 2 assets, with the РО set at 100%о.

                 Financial guarantee contracts
                 The 6го'.рб liability ипдег each guarantee is measured at the higher of the amount initially
                 recognised less cumulative amortisation recognised in the income statement, ап the ЕСI.
                 provision. For this рцгробе, the Group estimates ЕС1б Ьабе оп the ргебеп1 а1ие of the
                 expected раугпеп1б to reimburse the иоисиег ог а credit loss that it incurs The shortfalls аге
                 discounted Ьу the risk-adjusted interest га1е relevant to the ехробцге. The calculation is таде
                 using а probability-weighing of the three scenarios. The ЕС1б related to financial guarantee
                 contracts аге recognised within provisions.

        6.5.11 Forward looking information

              The Group foпnulates а Ьабе сазе view of the 1ыге direction of relevant economic variaЫes апд
              а representative range of other possiЫe огесаб1 scenarios апд consideration of а variety of
              external actual апд огесаб1 information. ТЫб ргосебб involves developing three different
              economic scenarios, which represent а range of scenarios linked to ООР growth and СР1.

        6.5.12 Credit Enhancements: collateral valuation апд financial guarantees

              То mitigate its credit risks оп financial assets, the Group seeks ю use collateral. The collateral
              согпеб in various forms, such as cash, securities, letters of credit/guarantees апд детапд
              promissory notes. То the ех1еп1 possiЫe, the Group uses active market data ог valuing financial
              assets иеиР as collateral.

        6.5.13 Оffsetting

              Financial assets and financial Iiabilities аге offset апд а net amount is presented in the
              consolidateд statement of financial position when, апд оп1у    еп, the Group сггепю1у has а
              legally епfогсеаЫе right to set Ы the amounts апд intends either to settle оп а net basis ог to
              reaiize the asset апд setlle the liability simultaneously.

              1псоте апд ехрепбеб аге ргебеп!ес! оп а net basis оп1у when permitted ипдег 1FRS, ог ог gains
              and losses arising from а гоцр of similar transactions.
                                                                    Ии1


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  ОА AFGHAM$ТАН BANK
  I ОТЕ$ ТО ТНЕ СОN$О1.ФАТЕО FINANIAL 3ТАТЕМЕНТ8
  РО ТНЕ УЕА     Еиввв 30 QAWS 1399 (20 ОЕСЕМВЕ                   2020)


        6.5.14 Amortised соз measurement

               The amortised соз' of а financial asset ог financial liability is the amount at which the financial
               asset ог financial liability is measured at initial recognition, minus principal гераугпепв, plus ог
               minus the cumulative amortization using the еес е interest method of апу differenсе between
               the initial amount recognised and the maturity amount, minus апу reduction ог impairment.


        6.5.15 Fair ча1пе measurement

               Fair а1ие is the price that would Ье received to se11 ап asset ог paid to transfer а liability in ап
               огдег1у transaction Ьеншееп market participants at the measurement date in the principal ог, in its
               аЬ5епсе, the тпозю advantageous market to which the Огоор has ассезз ас that date.

             "Л'еп ауаi1аЫе, the СгоЦр measures the fair ',а1ие of ап instrument using the quoted price in ап
             active market ог that instrument. А market is regarded as active if transactions ог the asset ог
             liability take р1асе with sufficient frequency ап уо1ите to provide pricing information оп ап
             ongoing basis.

             1f there is по quoted ргiсе in ап active market, then the Огоцр uses valuation techniques that
             maximize the use of relevant observaЫe inputs апд minimize the use of unobservaЫe inputs. Т1е
             chosen valuation technique incorporates а11 of the ас1огб that market participant would take into
             account in pricing а transaction.

             Т,е ьевю е~iдепсе of the fair а1ие of а financial instrument at initial recognition is погта11у the
             transaction price i.e. the fair ча1ие of the consideration given ог reсеived. 1f the (Згоцр determines
             that the fair а1ие at initial recognition differs гогп the transaction price апд the fair а1ие is
             evidenced neither Ьу а quoted price in ап active market ог ап identical asset ог liability пог Ьазе
             оп а valuation technique that uses оп1у data €огп оЬвеrvаЫе markets, then the financial
             instrument is initially measured at fair уа1ие, adjusted to сюеег the differenc Ьеншееп the fair
             ~а1ее at initial recognition апд the transaction price. Subsequently, that differenсе is recognised in
             consolidated зюаюегпепю of рго ог loss оп ап appropriate basis оуег the life of the instrument Ьц
             not later than when the valuation is wholly supported Ьу observaЫe market data ог transaction is
             closed out.

             1f ап asset ог liability measured at fair а1ие has а bid price апд ап ав1 price, еп the Огоцр
             measures assets апд long positions at а bid price and liabilities апд short positions at ап ask
             ргiсе.

             Portfolio of financial assets апд financial liabilities that аге ехровеб to market risk апд credit risk
             that аге гпапаеР Ьу the Сгоцр оп the basis that the net exposure to either market ог credit risk
             аге measured оп the basis of а price that 'о1Р Ье reсеived to вен оп а net long position (ог paid
             to transfer а net short position) ог а particular risk exposure. Those portfolio-1е~е1 adjustments
             аге allocated to the individual assets апд liabilities оп the basis of the relative risk adjustment of
             еас1 of the individual instruments in the portfolio.

             The fair а1ие of deposits is пою less than the amount рауаЫе, discounted from the first date оп
             which the amount сои1д Ье required to Ье paid.

             The Group recognizes югапвегв between levels of fair ча1ие hierarchy as of the епд of the
             reporting period during which the сиапде has оссиггед.
                                                                       иЧг




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   дА AFGHANISTAN ВАИК
   ИОТЕ3 ТО ТНЕ CОNSОLIDATEI FINANCIAL STATEMENT3
   РОП ТНЕ УЕАТ ЕЫОЕО 30 ОАб8 1399 (20 ОЕСЕМВЕЫ 2020)


      6.б Cash and cash equivalents

          Cash апд cash equivalents include foreign сиггепсу савн оп 1апс апд highly liquid financial assets with
          original maturities of less than 1 гее months, which аге $Ьес1 to insignificant risk of changes in their fair
          ~а1ие, апд аге озеР Ьу the Огоир in the пападегпеп1 of its short-term commitments.

          Cash апд cash equivalents аге carried at amortised cost in the consolidated statement of financial
          position.

      6.7 Goid

          6.7.1 Go1d held as гезег е

                 Refined gold held as foreign гезегуе is гесогРеР at fair а1ие at the consolidated statement of
                 financial position date. Fair price is Ре1егттйпеР Ьу гЫегепсе to the 1.опдоп Bullion Market
                 Association (IВМА) fixings at а discount of USD 2.25 рег 1гоу оипсе (1398: USD 2.25 рег гоу
                 оипсе). Fair а1ие апд foreign ехс1ап9е changes in gold аге 1а1еп to revaluation гезеге
                 ассдипн.

          6.7.2 GoId at t3ai vault

                 Non-refined gold апд silver held at the Огоцрз vault аге stated at cost less impairment (if апу),
                 and аге included in other assets.

     6.8 Ргорегну апд equipment

          Ргореrtу апд equipment, other than €ее-1ю1с1 'апд (which is пы depreciated), аге stated at cost ог
          revalued amount less accumulated depreciation апд accumulated impairment losses, if апу. 1апд is
          carried at revalued amount less impairment losses, 'f апу.

          Subsequent соз1з аге included in ап asset's carrying amount ог recognised as а зерага1е asset as
          appropriate, оп1у when it is ргоЬаЫе а1 future benefits associated with the item *'1I 11о to the Огоир
          апд the cost of the item сап Ье гпеазгес1 reiiaЫy. АН other repairs апд maintenance аге charged to the
          statement of profit ог loss as and 4,еп гпсиггед.

         Depreciation is calculated Ьу the Огоир using the straight line method which writes Роп the cost of
         assets to their residual values оуег the estimated зе 1 lives. Depreciation is charged from the date
          1еп the asset is а'аi1аЫе ог зе апд по depreciation is charged from the date when the asset is
         disposed Ы. The estimated useful lives ог the сггеп1 апд comparative periods аге as follows:

                                                                                       1399               1398
                                                                                      (2020)             (2019)

                 Buildings                                                            40 уеагз           40 years
                 Furniture апд fixtures                                            5 to 10 уеагз       5 to 10 уеагз
                 Мо1ог vehic'es                                                        5 уеагз            5 уеагб
                 1Т апд office equipment                                           310 10 уеагз        3 to 10 уеагз

         The residual values, useful lives апд depreciation method аге reviewed апд аРз1еР, if appropriate, at
         еасн reporting date.
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   ДА АРОНАЫ1sТАН ВАМК
   1ОТЕ$ ТО ТНЕ СОW8О1ФАТЕО FINAWCIAL $ТАТЕМЕНТЗ
   РОР ТНЕ УЕА1 ЕНОЕО 30 ОА $ 1399 (20 ОЕСЕМВЕ 2020)


          1апд апд buildings аге revalued Ьу professionally qualified valuers with sufficient regularity to епз ге
          that their пе carrying а1ие does по iffer materially from their fair уа1ие. А surplus arising оп
          revaluation is credited to the revaluation гезег е account. Апу deficit arising оп subsequent revaluation
          of fixed assets is adjusted against the Ьа1апсе in the above-mentioned surplus account. The surplus оп
          revaluation of fixed assets, to the ехеп of incremental depreciation, is 1гапз!еггес to retained earnings.

          Ап item of ргорегну апд equipment is derecognised ыроп disposal ог when по future economic benefits
          аге expected from its use ог disposal. Апу gain ог loss arising оп derecognition of the assets is
          recognised in the consolidated statement of profit ог loss in the уеаг when asset is derecognised.


      б.9 lntangiЫе assets

          Banking software acquired Ьу the Огоир is зюаюе             at созю less accumulated amortization апд
          accumulated impairment losses, if апу.

          Subsequent expenditure оп software is capitalised олу when it is expected to increase the future
          economic benefits embodied in the specific аззею со which it relaces. А11 other expenditures аге expensed
          as incurred.

          Software is amortised оп а straight-line basis in consolidated statement of profit ог loss оуег its
          estimated useful 1ife, from the date оп which it is а,аi1аЫе for 'зе. The estimated useful life of а software
          for the current period is Вгее years чЫ1е for comparative periods useful life аз flve years.

          Amortization methods, зейз1 Iives апд residual values аге reviewed at each reporting date апд adjusted,
          if appropriate.

      6.10 Provisions

          Provisions аге recognised when the Огоир has а present oЫigation (1ega1 ог constructive) as а result of
          past ееп1в апд it is probaЫe that ап о Г1о of гезогсеб wi11 Ье required to settle the oЫigation апд а
          ге1гаЫе estimate of the amount сап Ье таде. Provisions аге reviewed at each consolidated statement of
          financial position date апд аге adjusted to reflect the current best estimate.

      6.11 Financial guarantees

          'Financial guarantees' аге сопюгасюб that require the Огоир to make specified payments to reimburse the
          holder for а loss it incurs Ьесазе а specified debtor fails to make payment when дие.

          Liabilities arising from financial guarantee аге initially measured at fair а1ие апд the initial fair а1ие is
          amortised о"ег the life of the guarantee. The liability is subsequently carried at the higher of this
          amortised amount апд the present ',а1ие of апу expected payment to settle the liability when а payment
          ипдег the сопюгасю has Ьесоте ргоЬаЫе.

      6.12 Bank notes апд coins

          Bank notes апд coins in circulation represent а детапд liability of the Згоцр when issued from the
           аююз апд аге гесогдед in the consolidated statement of financial position at their !асе уа1ие. Expenses
          оп bank notes апд coins in circulations include expenses оп security, transportation, insurance апд other
          expenses. Expenses оп bank notes апд coins in circulation аге recognised as апд when they аге
          incurred. Апу ип-issued сиггепсу notes апд coins lying at the presidential ра1асе аге пою reflected in
          these financial зюаюеглепюз.

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   вА AFGHAI9I$ТА I BANK
   иотЕз ТО ТНЕ CОN8ОLIDATED FINAWCIAL ЗТАТЕМЕН1Т5
   FОR ТНЕ УЕА! ENDED 30 QAW3 1399 (20 0ЕСЕМВЕ 2020)


      6.13 Етр1оуее ЬепеН

           6.13.1 Defined contribution oЫigation

                  1п 2016, the Огор has introduced ап unfunded contribution scheme апд operates it for а11 of из
                  permanent employees. МопЫу contributions аге таре Ьо Ьу the (Згоцр апд the employees ас
                  8°/о of employees' basic salary.

           6.13.2 Termination ЬепеЫз

                  Termination Ьепеfгнв аге ехрепзе at the еагНег of еп the Group сап по 1опег withdraw the
                  Ыег of those Ьепез ап неп the Group recognizes the costs for а restructuring. 1f benefics аге
                  Нос ехрес1е о Ье settled     оВу within 12 months of the reporting даме, еп these Ьепез аге
                  discounted.

           6.13.3 Short-term етр1оуее benefics

                  Short-term етр1оуее Ьепез аге ехрепзес as the related service is provided. А liability is
                  recognised for the amount ехресе o Ье paid if the Огоцр has а present 1е9а1 ог constructive
                  oЫigation to рау Ыз amount as а гезЫ of раз service provided Ьу the етр1оуее ап he
                  oЫigation сап Ье estimated reliaЫy.

      6.14 Grants

           Grants аге recognised ас their fair а1ие where there is геавопаЫе assurance that the дгап wi11 Ье
           received апд the Огоцр wi11 сотр1у with а11 the гещлгеР conditions attached to и

           Grants for ргореrtу апд equipment аге гесогдед as deferred grants in the consolidated заегпеп of
           financial position апд recognised income оп а systematic basis оуег the useful life of аззез acquired
           from the grant.

      6.15 Deferred соз

           The соз of printing of сиггепсу is recognised as а deferred ехрепзе in other аззенз. The соз is
           amortised in the consolidated statement of profit ог loss  еп the рппе сиггепсу is issued for
           circulation.

      6.16 Allocation of net profit

           According со Article 29 of the 0АВ 1а , if the Bank has а net profit for апу financial уеаг, it sha11 Ье
           allocated in the following огдег of priority:

           1)    с псгеазе the capital со а 1е~е1 equivalent со 5% of the а99ге9аИе amount of гпопенагу liabilities
                 at the епд of the financial уеаг.

           2)    со гедеет the securities issued Ьу the State со the Вап1 pursuant со Article 31.

           3)    to the General Reserve maintained Ьу the Bank to а 1ее1 equivalent to the amount of capital of
                 the Bank.

           4)    to апу оюиег гезеге for specific purposes estaЫished Ьу the Bank зЬесИ со the approval of the
                 Мор.

           5)    апу residual net profit remaining аннег the preceding allocations sha11 Ье аииосаюесн in ассогдапсе
                 with the following:
                                   и'1

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   вА AFGHANISTAN ВАИК
   ИОТЕ3 ТО ТНЕ СОГ5О11ОАТЕО FINANCiA1 ЗТАТЕМЕМТ$
   FOR ТНЕ УЕА1 Еиввв 30 QAWS 1399 (20 ОЕСЕМВЕП 2020)


                    - the preceding allocations from net profit sha11 Ье calculated as if таре from net operating
                      revenues, except that, if по operating revenues аге included in net profit ог а1ег the preceding
                       allocations have exhausted net operating revenues included in net profit, such allocations sha11
                       Ье calculated as if таре from net unrealized valuation gains;

                    - апу residual net operating revenues sha11 Ье 1гапзТеггес1 to the State within Тог months аТ1ег
                      the епс1 of the financial уеаг; апд

                    - residual net unrealized valuation gains if апу sha11 Ье allocated to а Valuation Reserve
                      Ассоп1 maintained оп the Ьа1апсе sheet of the Вап1 .

        6.17 1)зе of estimates апд judgments

             Т1е preparation of consolidated financial statements in conformity with IFRSs requires management to
             make judgments, estimates апд assumptions that ЫТес1 the application of бгоир's accounting policies
             ап the геропед amounts of assets, liabilities, income апд ехреп$еЗ. Ас1а1 гезЫ1з тау с Тег from
             these estimates.

             Estimates апд underlying assumptions аге reviewed оп ап ongoing basis. Revisions to estimates аге
             recognized prospectively. The агеаз involving а higher degree of         дтеп1 ог complexity, ог агеаз
             where assumptions апд estimates аге significant to the financial statements аге given Ье1оу:

                    Useful lives апд valuation of ргорегty апс1 equipment; ап                            Note 6.8
                    Provision for impairment.                                                            Note 6.10

                                                                                    30 Qaws 1399       30 Qaws 1398
                                                                                    (20 0ес 2020) (21 0ес 2019)
                                                                      Note                   (АТЗ in '000')
   7.   GOLD RESERVES

        Ва1апсе at beginning of the уеаг                                               81,400,561         66,178,591
        Gain оп revaluation                                                            22,089,910         11,637,505
        Exchange (loss) / gain                                                         (1,720,215)         3,584,465
        Ва1апсе at епд of the уеаг                                     7.1            101,770,256         81,400,561

        7.1 Thi5 represents 703,004.944 fine troy ounces (1398:703,004.944 fine troy ounces) of gold in Ьаг form
            held at Federal Reserve Вап1 (FRB), Г1е York as the Вап1 'з international гезег е.

             Аз рег FRB, these Ьагз meet the minimum 1.ВМА (iОпдоП Bullion Маг1е1 Association) 1.00 (1ОПдоп
             Goid Delivery) standards for quality (995.0 рагз рег thousand) Ьы1 до пЫ сотр1у wit)i the requirements
             for dimension (10р surface: 255 х 81 mitlimeters; bottom surface: 236 х 37 miIlimeters; thickness: 37
             millimeters). 1n addition, some of these Ьагз present imperfections such as surface roughness, сгас1з,
             fissures апд 1о1ез which аге considered ипассерtаЫе Ьу the IВМА.

             Accordingly, the Bank has obtained ап advice for the estimate of discount to the IВМА rate of USD
             1,879.75 рег troy оипсе (1398: US0 1,479.00 рег troy оипсе) from the Вап1 for International
             Settlements (81S), Switzerland, which has ЗУ99е$1ес а discount of 1)80 2.25 рег troy оипсе (1398: US0
             2.25 рег troy оипсе) to the IВМА га1е. Accordingly, the Bank has а1иед the gold reserves at USD
             1,877.5 рег troy оипсе (1398: US0 1,476.75 рег troy оипсе) using а discount of US0 2.25 рег troy
             оипсе (1398: 1180 2.25 рег нгоу оипсе) to IВМА rate as at the reporting а1е.
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   ОА АРОНАИиЗТАИ ВАИК
   NОTES ТО ТНЕ CОNSOL1OATE Е1ИАИС1АL STATEMEI Т3
   РО ТНЕ YEAI ЕИОЕО 30 ОА5 1399 (20 ОЕСЕМВЕК 2020)

                                                                                30 Qaws 1399 30 Qaws 1398
                                                                                (20 Оес 2020) (21 Оес 2019)
                                                                        Note     ----------- (Afs in '000') -----------

   8.   FОREIGN C1II RINCY СА$Н 1 Е$Е1 VES

        Cash ас head office                                                        18,570,911            18, 570, 911
        Cash at branches                                                           15,596,430             1,012,425
                                                                         8.1       34,167,341            19,583, 336

        8.1   Foreign сиггепсу ргоfг1е

              ОSD                                                                  32,967,164            19,092,139
              Его                                                                   1,076,948               365,347
              ОВР                                                                       6,363                  6,296
              РКЕ                                                                         144                     151
              АЕО                                                                       2,092                  2,136
              SAR                                                                     114,630                117,267
                                                                                   34,167,341            19, 583, 336

        8.2   ТЫб represents cash held Ьу the Вап in foreign сиггепсу at the Presidential ра1асе, the Неад office
              апд its branches.

                                                                                30 Qaws 1399 30 Qaws 1398
                                                                                (20 0ес 2020) (21 Оес 2019)
                                                                        Note     ----------- (Afs in '000') --------
   9.   ОУЕ ЕРОМ ВА'Ж8 AND FIIANCIAL 1NSTIT(T1ONS

        А amortised cost
        Тегт deposits with foreign banks                                 9.1      168,905,679          301,434,893
        Сггеп accounts with foreign banks                                          29,408,353           45,776,760
        Оvernight deposits with foreign banks                            9.2       56,490,207            8,734,962
                                                                                  254,804,239          355,946,615
        Expected credit Iosses                                           9.3         (127,165)            (376,262)
                                                                                  254,677,074          355,570,353

        9.1   Тебе саггу interest гаез ranging Ьеншееп -0.67% to 0.65% рег аппит (1398: -0.04% to 2.95°/о рег
              annum) having maturity ranging from December 2020 to Ац9цб1 2021 (1398: December 2019 to
              Ос1оЬег 2020).

        9.2   These гергебеп overnight deposits carrying interest а1е at the га1е of 0.01°/о рег аппит (1398:
              0.03°/о рег аппит).

        9.3   Ап analysis of changes in the ЕСI. allowances in relation to foreign сиггепсу accounts of the Огоир
              measured at amonized cost is as follows:

                                                                                                     (Afs in '000')
              Leve1 2
              Оpening balance as at 21 December 2018 (30 Qaws 1397)
              Impact of IFRS 9                                                                              800,647
              Expected credit Iosses as at 22 ОесетЬег 2018 (1 Jadi 1397)                                   800,647
              Impact during the уеаг                                                                       (424,386)
              Ва1апсе as at 21 December 2019 (30 Qaws 1398)                                                 376,261

              Expected credit Iosses as at 22 December 2019 (1 Jadi 1398)                                  376,261
              Impact during the уеаг                                                                      (249,096)
              Ва1апсе as at 20 December 2020 (30 Qaws 1399)                                                127,165

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   ДА AFQHAN18TAN ВАЮ(
   NOTE8 ТО ТНЕ CONSOLIOATED Р1НАС1А1 STATEMENT3
   FOR ТНЕ УЕА1 ЕЫОЕО 30 QAWS 1399 (20 ОЕСЕМВЕ 2020)


                                                                                30 Qaws 1399 30 Qaws 1398
                                                                                (2о 0ес 202о) (21 Dec 2о19)
                                                                        Note             (Afs in 000')
   10. INVE8TMENTS

      Investments measured at ЕУОС1
      US treasury bonds ап] other securities                            10.1     187,120,796        182,929,450
      US treasury bonds                                                 10.2       4,149,044          4,075,418
      US Тгеазцгу 8i115                                                 10.3     145,693,372
      Вап) for International Settlements lnvestment Роо1- А             10.4      30,416,640         29,825,310
                                                                                 367,379,852        216,830,178

      Equity insцuments at ЕУОС1
      Shares in ЕСОТОВ                                                  10.5        1,433,928         1,433,928

                                                                                 368,813,780       218,264,106

      10.1 The Group has entered into ап investment management апд consulting agreement with the
           lnternational Bank for Reconstruction апд Development (IBRD), ап organisation of the World Bank
           Group, for Reserves Advisory Мапа9егт1ел1 Program (ААМР). The 1В~0 has р1асед the (цпз in
           government securities, Еигореап federal аепсу securities апд deposit ассоп1з maintained with
           the Federal Reserve Вап of New Уог1 (РВ). This portfolio of investments carries return at rates
           ranging Ье ееп 0.13°/о to 3.35°/о рег аппит (1398: 1.38°/о to 3.13°/о рег аппит).


      10.2 The Group has таре investment in US treasury bonds held at the Federal Reserve Вап of New
           Уогк (FRB). These саггу interest rates ranging Ьеншееп 0.13°/о to 2.50% (1398: 1.375°/о t0 2.750%)
           рег аппит. These securities have ап aggregate face а1ие of А(з.4,048 million (1398: Afs. 4,038
           million).

      10.3 The Group has таре investment in US treasury bi11s held at the Federal Reserve Bank of New York
           (ЕВ). These саггу interest rates ranging Ьеншееп 0.06% to 0.12°/о рег аппит. These securities
           have ап aggregate face а1ие of А(з.1,890 million (1398: A(s: Ni1). Ouring the уеаг, the Bank
           liquidated some of the term deposits to invest these атоипнв in US treasury bi11s to гяападе the
           credit risk с е to СОУЮ-19 гярас!.

      10.4 The Group holds units of Bank for International Settlements lnvestment Роо1 А" (BISIP-A) through
           ап asset management agreement, ыси has investments in USD denominated Government Вопсб,
           foreign сиггепсу swaps апд other interest bearing securities. The total units held Ьу the Group at the
           reporting са1е еге 2,637,453 (1398: 2,637,453) having таrkеt а1ие of USD 149.57 (1398: 144.22)
           рег unit.

     10.5 The Group holds shares in the Есопогтйс Cooperation Organization Тгаде апд Development Bank
          (ЕСОТОВ), Istanbul, Turkey. Аб рег the agreement, the Group is геЯЫге to subscribe 500 shares,
          о1of which 350 shares аге са11аЫе. Ав of the уеаг еп , the Group has subscribed 150 (1398: 150)
          shares.
                   ииу




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      10.6 Ап analysis of changes in the ЕСI allowances in relation to investments of the (3гоир is as follows:


                                                                                                     Investmentin
                                                                                lnvestments               ОеЫ
                                                                                measured at           instruments
                                                                               amortised соз          measured at
                                                                                                         ЕУОС1
                                                                       Note     ----------- (Afs in '000')

            Leve1 1
            Opening balance as at 21 December 2018 (30 Qaws 1397)
            Impact of 1FRS 9                                                                338                8,233
            Expected credit losses as at 22 December 2018 (1 )adi 1397)                     338                8,233
            Ехрес1е credit losses                                                          (338)              (1,317)
            Ва1апсе as at 21 December 2019 (30 Qaws 1398)                                                      6,916

            Opening Ьа1апсе as at 22 December 2019 (30 Qaws 1398)                                             6,916
            Ехрес1е credit losses                                                                               290
            Ваiапсе as at 20 December 2020 (30 Qaws 1399)                                                     7.206

                                                                               30 Qaws 1399 30 Qaws 1398
                                                                               (20 Оес 2020) (21 Оес 2019)
                                                                       Note             (Afs in '000')

   11. ASSISTANCE AS ~ЕЫОЕР Оi: LAST RESORT

      Assistance as 1епдег of last resort to КаЬи1 Вап                  11.1          170,154               166,793

      11.1 This represents the amount paid to КаЬи1 Bank as а 1епдег of last resort ("LoLR") ипдег Article 86 of
           the ОАВ 1а'.

           Оп 21 Ната1 1390 (10 Apri12011), the Bank signed а Promissory Note апд А9геепеП1 ("PNA") with
           the Ministry of Finance ("МОЕ"), Govemment of Islamic RepuЫic of Afghanistan, wherein МоЕ
           адгееР to underwrite cost of 1о1Л facilities to КаЬ Л Bank amounting to А1з.37,620 million (USD 825
           million), which was subject to adjustments дие to раупеп1з of claims against КаЬ Л Bank in
           receivership. The repayment is subject to other conditions, as mentioned in the PNA, including
           assignment of claims of the Вап) against КаЬИI Вап to МоЕ. Аз рег the terms of repayment the
           entire amount was required to Ье paid to the Bank in 8 уеагз in 32 quarterly increasing installments
           beginning from the епд of first quarter 01 1390.

           This carries interest at the аппиа1 га1е of 2°/о сотроипдед quarterly ОП outstanding baiance. The
           terms of repayment schedule пРег PNA ее revised in 1399, wherein the епд Ра1е of repayment
           period was extended from 1398 (21 December 2019) to the епд 01 1400 (20 Оес 2021). The
           movement in 1Ыб balance during the уеаг is as follows:

                                                                               30 Qaws 1399 30 Qaws 1398
                                                                               (20 Оес 2020) (21 Оес 2019)
                                                                       Note     ----------- (Afs in '000') -----------

           Opening balance                                                            166,793            6,961,885
           Адд: interest charged 10г the уеаг                                           3,361               95,782
           Адд: unwinding of сНзсоп1 Оп LoLR                           11.2               -                209,126
           Less: recoveries during the уеаг from МоЕ                                                    (7,100,000)
           Closing Ьа1апсе                                                            170,154              166,793




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      11.2 1п 1396, the Bank has used risk free interest га1е of 6.67%о to amortize the outstanding amount
           ипдег PNA. During the уеаг, Ьабе оп the !ас1 that the outstanding amount has гедисед significantly
           ап i11 Ье settled in 1400 ипдег PNA, the management has not revised the interest rate to unwind
           the discount. The management of the Bank believes that it wi11 not have material impact оп the
           financial statements.

            The Ьа1апсе amount of Afs 170.154 million (1398: Afs 166.793 million) wi11 Ье received as soon as
            the national budget of Islamic АериЫiс of Afghanistan wi11 Ье арргое Ьу the Government for the
            уеаг 1400.

                                                                                 30 Qaws 1399 30 Qaws 1398
                                                                                 (20 Оес 2020) (21 Оес 2019)
                                                                        Note              (Afs in '000') -----------

   12. ADVANCES АМО ОТНЕг RECEIVABLES
      1.оапб to staff                                                    12.1        1,215,346               603,394
      Afghanistan Deposit Protection Еп                                  12.2          500,000               500,000
      Defeпed cost оп unissued сиггепсу                                  12.3          230,762               493,056
      Other receivaЫes from employees                                    12.4          191,069               149,960
      Others                                                                           129,369               133,032
                                                                                     2,266,546             1,879,442
      Expected credit losses                                             12.5         (168,454)             (169,072)
                                                                                     2,098,092             1,710,370

      12.1 ТЫб гергебеп1 loans provided to employees of the Bank for housing, marriage ап 9епега1
           рцгробеб. These loans аге interest free апд аге герауаЫе оп гпопюийу basis оуег а period ranging
           from 1 to 15 уеагб (1398: 1 to 15 уеагб). These Ioans аге secured against staff defined contribution
           оЫigation ап personal guarantee of the employees of the Bank.

      12.2 This гергебеп1б contribution of the Bank for Afghanistan Deposit Protection Епс1 (АОРЕ).The Огоир
           contributed а бцгт, of Afs. 500 million being its share in the initial capital of АОРЕ in the уеаг 2009.
           Since then, the Огоир, оп behalf of АОРЕ, has Ьееп collecting insurance premium from commercial
           Ьап1б at а certain rate based оп their customer deposits (other than inter-ban) deposits) апд the
           same is deposited into АОРЕб bank account held with the Bank. The salaries of staff ап rent
           expense pertaining to ADPF аге also currently being Ьогпе Ьу the Огоир. АОРЕ has not Ьееп
           incorporated yet as а separate 1ega1 entity, as the relevant агпепгпеп1 in the ОАВ 1а has not yet
           Ьееп арргое Ьу the Parliament.

      12.3 ТЫб гергебеп1б е!еггес cost incurred in гебрес1 of printing of сиггепсу. ТЫб cost is amortised as ап
           expense in the consolidated statement of profit ог loss when the printed сиггепсу is issued into
           circulation. The movement in this Ьа1апсе is as follows:

                                                                                30 Qaws 1399 30 Qaws 1398
                                                                                (20 Оес 2020) (21 Оес 2019)
                                                                        Note     ----------- (Afs in '000') -----------

           Ва1апсе as at beginning of the уеаг                                         493,056              773,980
           1.ебб: amortisation of cost during the уеаг                                (262,294)            (280,924)
           Ва1апсе as at епд of the уеаг                                               230,762              493,056

      12.4 This represents асапсеб апд receivaЫes оп account of misappropriation of cash Ьу the Огоор'б
           employees in prior уеагв which аге fu11y provided.
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   ОА AFGHANISTAN ВАЫК
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   FОR ТНЕ УЕАР ЕиоЕО 30 QAWS 1399 (20 DEG EMEi 20201


      12.5 Expected credit losses
           Ап analysis of changes in the ЕС[ а11о'апсеб in геаюп to гасе receivaЫes of the (3гоир
           гпеазогес а amortized соз s as оПоуз:

                                                                         30 аз 1399 30 Оа з 1398
                                                                         (20 0ес 2020) (21 0ес 2019)
                                                                    Nofe         (Afs in '000')

           Ва1апсе as а the Ьед1ппЁпд of the уеаг                              169,072         150731
           ( есоУегу of ЕС[) / impairment during the уеаг                         (618)         18341
           Ва1апсе as а he епд of the уеаг                                     168,454         169,072

   13. ОРЕАТО FIXED ASSETS

      Capital ог n progress                                          13.1        24,072          6,664
      Ргорегну апд equipment                                         13.2     5,275,411      5,370,129
                                                                              5,299,483      5,376,793

      13.1 Capital л'ог   n progress
                                                                                           Civi1 Works
                                                                                          (Afs in '000')
           Ва1апсе as а 21 December 2018                                                           9,925
           Capital expenditure incurred / advances таре during the уеаг
           Trans er to operating fixed assets                                                    (3,261)
           Ва1апсе as а 21 December 2019                                                          6,664
           Capital expenditure incurred / а 'апсез таре during the уеаг                          17,408
           Тгапзег to operating fixed assets
           Ва1апсе as а 20 December 2020                                                         24,072


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NОTES ТО ТНЕ CОNSОLIDATED FINANCIAL STATEMENTS
ЕО1 ТНЕ УЕАА ЕЫОЕО 30 QAWS 1399 (20 ОЕСЕМВЕ 2020)

    13.2   Ргорегну апд equipment

                                                                                             Fumiture          МЫог        1Т апд оffгсе
                                                                   1апд        Buildin99                                                    Тона1
                                                                                            апд fixtures      vehicles      equipment
                                                           IIt е                                     (Аfз гп'0о0')


           Ва1апсе as at 01 Jadi 1397 (22 December 2018)           4,303,486     893,251        132,792         195,444         901,873     6,426,846
           Additions                                                     -        10,679          1,308             -            59,417        71,404
           Тгапз ег frот Capital Work 1п Ргодгеб$                        -         3,261                            -                           3,261
           Adjustments                                                 1,699      (3,845)        (61,232)        41,481          14,783        (7,114)
           Disposal                                                      -           -              (842)           -           (20,465)      (21,307)
           Ва1апсе as at 30 Qaws 1398 (21 December 2019)           4,305,185     903,346          72,026        236,925         955,608     6,473,090


           Ва1апсе as at 01 Jadi 1398 (22 December 2019)           4,305,185     903,346         72,027         236,927         955,608     6,473,090
           Additions                                                     -         7,403          1,439           5,307          26,416        40,565
           Adjustmentз / write offs                                                  -              417             (4б)         (9,115)       (8,744)
           Disposals                                                                               (427)         (1,065)         (5,202)       (6,694)
           Ва1апсе as at 30 Qaws 1399 (20 December 2020)           4,305,185      910,749        73,456         241,123         967,707     6,498,217

           Depreciation
           Ва1апсе as at 01 Jadi 1397 (22 December 2018)                          110,544        46,295         152,051         660,571       969,461
           Charge for the уеаг                                                     22,549         4,230          21,300         107,717       155,795
           Adjustments                                                                -             -               -             (3,138)      (3,138)
           Disposals                                                      -                        (764)            -           (18,393)      (19,157)
           Ва1апсе as at 30 Qaws 1398 (21 December 2019)                          133,093        49,761         173,351         746,757     1,102,962


           Ва1апсе as at 01 Jadi 1398 (22 December 2019)                          133,093        49,761         173,351         746,757     1,102,962
           Charge for the уеаг                                                     22,769         3,175           9,956          92,027       127,927
           Adjustments / write offs                                                   -            (126)                         (1,633)       (1,759)
           Disposals                                                                               (409)         (1,065)         (4,850)       (6,324)
           Ва1апсе as at 30 Qaws 1399 (20 December 2020)                          155,862        52,401         182,242         832,301     1,222,806

           NBV as at 30 Qaws 1398 (21 December 2019)               4,305,185      770,253         22,265         63,574         208,851     5,370,129
           NBV as at 30 Qaws 1399 (20 December 2020)               4,305,185      754,887         21,055         58,881         135,406     5,275,411



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вА А FGHAISTAN ВАNК
ЫОТЕЗ ТО ТНЕ CОWSОLIDATED FINANCIAL STATEMEWTS
РО ТНЕ УЕАА ЕЫОЕО 30 QAWS 1399 (20 ОЕСЕМВЕ 2020)


    13.2.1 1апд апд buildings неге ге~а1иед а at 30 Hooi 1389 Ьу independent ргореrtу деа1ег, М/S Pamir Ргорегну Dealer, а valuation ехрег having knowledge апд
           experience in the location апд са1е90гу of property, оп the basis of market values. The resulting impact from the revaluation exercise аб гесогдед ипдег
           revaluation гебегуе in the consolidated statement of changes in equity. The management is of the view that there аге по significant changes in the а1ие of
           1апд апд building from last revaluation.

    13.2.2 iапд апд buildings include properties having cost of Afs 106.557 million (1398: Afs 106.557 million) which have Ьееп transferred to the Огоир Ьу different
           ministries, however, the title to these properties has по yet Ьееп 1гап$!еггес in the паше of the Огоир. Further, properties having соз of Afs 51.864 million
           (1398: Afs 51.864 million) аге disputed, таiп1у дие to Тие / possession issues апд аге ипдег review Ьу the сог of 1aw.

    13.2.3 Над по revaluation Ьееп carried о , the carrying amount of the 1апд апд buildings that would have Ьееп recognised in these financial statements is а5 ипдег:



                                                                                                              30 Qaws 1399                      30 Оанз 1398
                                                                                                           (20 December 2020)                (21 December 2019)
                                                                                                               (Afs in'000')                     (Afs in '000')

                                                                                                          1апд          Buildings           iашд           Buildings

          Cost                                                                                           3,368,708        1,155,785        3,368,708         1,148,382
          Accumulated depreciation                                                                                         (245,526)                          (216,468)
          Carrying amount                                                                                3,368,708          910,259        3,368,708           931,914

                                                                                                                                       30 аз 1399        30 ааы'б 1398
                                                                                                                                       (20 Рес 2020)     (21 Рес 2019)
                                                                                                                                         ---- (Afs in '000)
    13.2.4 Allocation of depreciation

          Depreciation charged !ог the уеаг                                                                                                  127,927           155,796
          Less: Amount classified ипдег дгап ерепбе                                                                                          (44,347)          (99,318)
                                                                                                                                              83,580            56,478

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     ОА AFGHANISTAN ВАМК
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     РОН ТНЕ УЕАП ЕНОЕО 30 QAWS 1399 (20 fЕСЕМВЕН 2020)

                                                                                   30 Qaws 1399      30 Qaws 1398
                                                                                   (20 0ес 2020)     (21 0ес 2019)
                                                                           Note             (Afs in '000')
     14.   INTANGIBLE ASSETS

           Соз
           Ва1апсе as at beginning of the уеаг                                              341,654          339,497
           Additions                                                                            490            2,157
                                                                                            342,144          341,654
           Amortisation
           Ва1апсе as at beginning ы the уеаг                                               318,386          250,608
           С1агде for the уеаг                                                               18,810           67,778
                                                                                            337,196          318,386

           N9V as at end Ы the уеаг                                                            4,949          23,268

     15.   ОТНЕЕ ASSETS

           Non-monetary gold bullion апд bars                                             5,861,728        5,861,728
            оп-гпопе1агу silver                                                           6,711,255        6,711,255
                                                                            15.1         12, 572, 983     12,572,983

           Ассгиед interest оп investments measured at ЕУОС1                10.2             940,734         901,617
           Cash апд Ьап balances held Ьу the Subsidiary                                        4,461           1,849
           1п1ег-Ьгапс1 accounts                                                               1,661
           О11егб                                                                             15,332           15,201
                                                                                         13, 535,171      13, 491, 650

           15.1 These гергезеп1 the gold bullion and bars and silver coins held in the Bank's vault at the
                Presidential Ра1асе. 1)псег а Метогапдит ы Understanding ("МоЦ") адгеес1 Ье1 ееп the Bank
                апд the Ministry ы Finance (МОЕ) in the уеаг 1383, the Bank 1аб Ьееп granted с1еаг title to а11 the
                gold bullion and bars, as we11 as certain gold апд silver coins, asserted to Ье опе Ьу the 8ап
                and physically located in the Presidential Ра1асе vault.

                                                                                   30 Qaws 1399      30 Qaws 1398
                                                                                   (20 0ес 2020)     (21 0ес 2019)
                                                                           Note             (Afs in '000')

     16.   С1)РЕГ'4СУ 1N CIRCULATIОN

           Coins                                                                         617,400            548,400
           Вапк notes                                                                306,674,598        273,474,598
                                                                                     307,291,998        274,022,998
           Bank notes апд coins held Ьу the Вап                                      (13,950,618)       (14,674,739)
                                                                           16.1      293,341,380        259,348,259

           16.1 Т ie liability ог coins & ьапн< notes issued Ьу the За Afghanistan Вап    s гесогдед at 1б асе а1ие.

                                                                                30 Qaws 1399 30 Qaws 1398
                                                                                (20 0ес 2020) (21 0ес 2019)
                                                                           Note         (Afs in '000')
     17.   САР1ТА[ МОТЕ5

           Еасе а1ие                                                                     46,400,000      24,905,000
           Un-amortised discount                                                           (550,616)       (129,827)
                                                                    17.1 & 17.2           45,849,384      24,775,173

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     ОА AFGHANISTAN ВАЫК
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     FОI ТНЕ УЕАП ЕМОЕО 30 QAWS 1399 (20 DECEMBEI 2020)



           17.1 These гергеел deb г л.пт'ел issued Ьу the Bank to the licensed commercial banks ал
                licensed топеу changers. These instruments have maturity between 7 1ау to 364 ау (1398: 7 to
                364 с1ау5) and аге freely transferaЫe between licensed commercial banks, licensed топеу
                changers and the Вал .

           17.2 These по1е$ сану л1еге51 га1е$ гап91п9 between 1.49°/о to 3.8°/о рег аппит (1398: 0.15%о 10 2.20%
                рег алл1гл).

                                                                                30 Qaws 1399     30 Qaws 1398
                                                                                (20 0ес 2020)    (21 0ес 2019)
                                                                         Nofe            (Afs in 000')
     18.   0УЕ ТО BANKS AND FINANCIAL 1NSTITUTiONS

           Foreign currency:
             Current accounts                                                      36,856,040        29,817,126
            Required гезег е Ьа1апсе                                     18.1      17,350,088        17,200,085
             Егоиел account                                              18.2         385,525           392,042
                                                                                   54,591,653        47,409,253
           Loca1 сиггепсу:
             Current accounts                                                      28,245,193        29,510,518
             Required reserve Ьа1апсе                                    18.1       7,314,977         5,734,431
             Оvernight deposits                                          18.3       9,927,375        1а,569,822
                                                                                   45,487,545        49,814,771
                                                                                  100,079,198        97,224,024

           18.1 This represents interest гее reserve balances maintained Ьу the commercial banks with the Вал< in
                ассогдапсе with the requirements of Article 64 of the 0АВ [а or 1оса1 currency and circular по.
                3967 1а1е1 07 Sunbula 1396 (29 Ацдцб1 2017) issued Ьу 0АВ ог foreign сиггепсу.

           18.2 ТЫб represents balance дие to а commercial bank which     аз withheld Ьу the Вап оп instructions
                of the Financial Supervision сераг1глеп1.

           18.3 These аге р1асед Ьу local banks and сану interest а1 the га1е of 0.1%о рег аппит (1398: 0.1% рег
                аппит).

                                                                                30 Qaws 1399     30 Qaws 1398
                                                                                (20 0ес 2020)    (21 0ес 2019)
                                                                        Note             (Afs in 000')
     19.   ОЦЕ ТО CUSTОMERS

           Foreign сггелсу:
             Current accounts                                                      78,361,259        84,107,032
             0огглап1 accounts                                          19.2           93,095             82,049
            Магдёп against letters of credit                            19.4        5,453,009         3,567,181
                                                                                   83,907,363        87, 756, 262
           Loca1 сиггепсу:
             Current accounts                                                      60,332,477        42,273,576
             0огглап1 accounts                                          19.2           66,701            63,541
             Margin against letters of credit                           19.4           16,728            28,103
                                                                                   60,415,906        42,365,220
                                                            19.1, 19.3 & 19.5    144,323,269       130,121,482




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     оА AFGHANISTAN BANK
     NOTES ТО ТНЕ CONSOLIDATED FINANCIAL STATEMENTS
     РОП ТНЕ YEAR ЕМОЕО 30 QAWS 1399 (20 ОЕСЕМВЕП 2020)


                                                                                   30 Qaws 1399 30 Qaws 1398
                                                                                   (20 Оес 2020) (21 Оес 2019)
                                                                           Note     ----------- (Afs 1n '000') -----

           19.1 Оие to customers consist of:

                 Government accounts                                                 116,223,883           105,990,703
                 Others                                                               28,099,386            24,130,779
                                                                                     144,323,269           130,121,482

           19.2 These аге prior уеаг's поп-operative accounts of the customers of the Bank апд поп-operative
                accounts transferred Ьу other commercial banks. According to Article 75 of the ОАВ 1.ач of
                Afghanistan, а11 commercial banks аге required to dispatch а notice to each doпnant account hoider
                at their registered а гезз апд puЫish а notice in at least опе 1оса1 пезрарег mentioning the
                паше апд particular of the dormant account holder. If the dormant account holder саппою Ье located
                within 90 ауз айег the notice апд puЫication of details, these поп-operative accounts аге
                classified as dormant ог 10 уеагз апд transferred to the Bank which аге held in а special account.
                Thereafter, if апу dormant account holder satisfactorily proves his / her опегбЫр, the Bank wi11
                герау the amount immediateiy. If the dormant account hoider оез not claim Ьас heir deposit
                within the required period, the Bank югапзегз it to the Ministry of Finance (МоЕ) ОГ inclusion in the
                revenues of the Government of the Islamic RepuЫic of Afghanistan.

           19.3 The Bank is not in compliance with Article 74 of the ОАВ 1aw which гещлгез the Bank to limit its
                foreign сиггепсу liabilities ир to 50%о of its unimpaired capital апд reserves, which works out to Ье
                Аз.94,828.557 million as at 30 Qaws 1399 (20 ОесегпЬег 2020). Foreign сиггепсу liabilities of the
                Вап as at the said саюе зюапб at Аз.142,305.073 million, resulting in foreign сиггепсу liabilities
                exceeding the prescribed limit Ьу Аfs. 47,476.515 million as at the уеаг епд.

           19.4 These represent the deposits received Ьу the Bank against issuance of letters of credit (LCs). The
                Ban зэнез LCs оп1у to the government апд governmental organisations against receipt of 100%л
                deposit.

           19.5 А11 these deposits аге interest-free.

                                                                                   30 Qaws 1399 30 Qaws 1398
                                                                                   (20 Оес 2020)         (21 Оес 2019)
                                                                           Note     ----------- (Afs in '000') -----------
     20.   'МЕ RELATED LABILITIES

           Account 1                                                       20.1           86,983                 86,983
           Ассонп12                                                        20.1               35                     36
           Ех1епсе Credit Facility 1.оап 2016-19                           20.2        3,605,108              2,916,581
                                                                                       3,692,126              3,003,600

           20.1 The lslamic RepuЫic of Afghanistan is а тетЬвг of lnternational Monetary Енпс (IMF) since 1955.
                The member сонпюгу сап designate Ministry of Finance (МоЕ), central bank ог апу other адепсу as
                their Fiscal Agent. 1n addition, each тетЬег is statutorily required to designate its central bank as
                Depository. The Government of the lslamic RepuЫic of Afghanistan has попйпа1ес Ministry of
                Finance as their Fiscal Agent апд the Bank as Depository.
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             As the Depository ог the lslamic RepuЫic of Afghanistan, the Bank is required to maintain, in
             addition to оег accounts, the following accounts:

             Account 1 (Afghani)
             Ассоп 2 (Afghani)

             1МЕ's holding of the member's сиггепсу is р1асе п 'МЕ Account No 1 ап Account No 2 in the
             Bank. The Bank is required to гесогд balances in е 'МЕ Г'40.1 ап  o. 2 accounts аз its liabilities.
             These balances, although maintained within the Bank, аге опеб Ьу the 'МЕ. The ‚МЕ Ассош No.
             1 is used for the 1МЕ's operational transactions whereas the 'МЕ Account No. 2 is used for
             operational ехреязеб incurred Ьу the'MF in the members сиггепсу.

        20.2 As рег аггапдегпеп Ьеншееп the Bank, ‚МЕ ап МоЕ in 2016, IMF арргоуе Special Drawing
             Rights (SDRs) amounting to 32.38 million concessional financial assistance ипдег Ехнепдед Credit
             Facility (ЕСЕ) program, in support of а ннгее-уеаг macroeconomic ап structural adjustment
             program. The Bank has withdrawn equivalent to SDR 32.38 million (1398: SDR 27 million). The ЕСЕ
             loans иае 10 уеагз maturity ап аге герауаЫе in 10 equal semiannual installments starting аег
             the 5th уеаг of disbursement.

                                                                               30 Оаз 1399 30 Оа'нз 1398
                                                                               (20 Оес 2020)        (21 Оес 2019)
                                                                      Note      ----------- (Аз in '000') ---------
        20.3 Оff-balance зиее balances

             Afghanistan's О'.юа in 'МЕ                               20.3.1      36,051,083          34,977,362
             SDR Holdings                                             20.3.1       4,142,392           4,249,449
                                                                                  40,193,475          39,226,810

             Liabilities
             Securities issued to ‚МЕ                                 20.3.1      33,695,501          34,685,475
             SDR Allocations                                          20.3.2      17,292,302          16,777,280
             Ехнепдед Credit Facility 1.оап 2006-10                   20.3.2                              61,032
             Ехепес Credit Facility iоап 2011-14                      20.3.2         668,025           1,296,258
             Еепе Credit Facility iоап 2020-24                        20.3.2       9,012,771                 -
             Rapid Credit Facility iоап 2020                          20.3.3      18,025,541
                                                                                  78,694,140          52,820,045

             20.3.1 Со"егппеп of Islamic RepuЫic of Afghanistan has quota (St)R 323.8 million) in the IMF.
                    This quota reflects the subscription in the ‚МЕ of respective members. The quota in the IMF
                    is secured Ьу the Ministry of Finance promissory note issued to the 'МЕ ап denominated in
                    SDR. The Bank is the custodian of the promissory note. The differences аге дие to the
                    evaluation of езе positions а the SDR exchange rate.

                    The Ministry of Finance maintains ап SDR-denominated current account with the ‚МЕ used
                     ог processing ап settling а11 transactions with the 'МЕ. This current account Ьеагз interest
                    in the amount of the во-са11ед 'МЕ basic rate. 1п 1399, the basic rate гапе rom 0.05% to
                    0.78°/о р.а. (1398: (1398: 0.76% to 1.15°/о р.а.). The SDR Holding Ьа1апсе amounted to
                    SDR 37.206 million (1398: SDR 39.339 million).

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                 20.3.2 Tota1 liability of the Islamic RepuЫic of Afghanistan ог the SDR allocation агтюгР$ to SDR
                        155.31 million (1398: SDR 155.31 million). According to the 1МЕ's Articles of Agreement, the
                        liability ог the SDR allocation fa11s дие oniy in the case апд in the amount of the сапсе11ед
                        SDR allocation, which геЫгез а decision of the Council of ‚МЕ Ооегпогб, with 85%
                        majority of о1ез, ог in the case of canceling the participation in the 1МЕ's SDR Department.

                        Аз рег the пе аггап9еп1еп1 Ьеншееп the ‚МЕ and МоЕ during the уеаг (the program), 'МЕ
                        арргоУес SDR 259.04 million ЕСЕ to Government of Islamic RepuЫic of Afghanistan under
                        the program. The МоЕ has withdrawn equivalent to SDR 80.95 million in addition
                        outstanding ЕСЕ 2011-14 equivalent to SDR 6 million (1398: SDR 12 million). The
                        rpayment of ЕСЕ оапз to МЕ has Ьееп таре using SDR Holdings account with the 'МЕ.


                 20.3.3 The 'МЕ арргое ап emergency assistance to Government of Islamic RepuЫic of
                        Afghanistan-МоЕ equivalent to SDR 161.90 million under Rapid Credit Facility (ВСЕ) during
                        the уеаг, to mitigate the impact of Covid-19 pandemic оп Afghanistan's есопоту ап to
                        Ьооз1 critical health spending ап rolling out social assistance to households hit hard 1у the
                        pandemic. The RCF has 10 уеагз maturity ап аге герауаЫе in 10 equal semiannual
                        installments starting а1ег 5th уеаг of disbursement.


                                                                                  30 Qaws 1399 30 Qaws 1398
                                                                                  (20 Оес 2020) (21 Оес 2019)
     21.   DEFINED CОNTRIBUTIОN ОBLIGATIОN                                        ---------- (Afs in '000') ------

           Ое1пес contribution oЫigation                                   21.1        1,909,843           1,769,903

           21.1 In 1395, the Вап introduced ап unfunded contribution scheme апд operates it ог а11 of its
                perrnanent employees. Monthly contributions аге таре both Ьу the Bank апд the employees at 8°/о
                of employees' basic salary.

     22.   ОЕЕЕРРЕО СРАЫТЗ

           This represents grants received in kind гогт various опогз in the оггт' of information юесипоноду and
           ро чег equipments ог the purpose of supporting the 9о'егпгпеп1 owned entities.

                                                                                   30 Qaws 1399 30 Qaws 1398
                                                                                   (20 Оес 2020)      (21 Оес 2019)
                                                                           Note     -------- (Afs in '000') ----------

           Ва апсе at the beginning of the уеаг                                          142,182             249,061
           Огап1з received during the уеаг                                                                    12,365
                                                                                         142,182             261,426
           [езб: Оеегге grants recognised аз income                                      (59,084)           (119,244)
           Ва1апсе at the епд of the уеаг                                                 83,098             142,182

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     ОА АРОНАН15ТАН ВАНК
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     FОR ТНЕ УЕА ЕНОЕО 30 QAWS 1399 (20 ОЕСЕМВЕ 2020)


                                                                                 30 Qaws 1399 30 Qaws 1398
                                                                                 (20 Рес 2020)         (21 Рес 2019)
                                                                         Note     ----------- (Afs in '000') ---_------
     23.   PRЮV1S1ONS АЫО ОТНЕР LIABII1TIES

           Provision against МО1 adjustments                             23.1            29,467               29,467
           РауаЫе to Ministry of Finance                                 23.2                             12,759,153
           РауаЫе in respect of defined contribution oЫigation           23.3          195,904               198,600
           Security deposits                                             23.4          497,640               455,743
           Sundry рауаЫев                                                              785,979               781,246
           Auditor's remuneration                                        23.5            3,753                 3,763
           In1er-branch accounts                                                           -                 185,332
           О1Ьегз                                                                       88,144                66,605
                                                                                     1,600,887            14,479,909

           23.1 The Вап has recognised 1Ыз provision pending the conclusion of reconciliation process relating to
                the bа1апсеs дие from / to various ministries of the Government.

           23.2 This гергезеп1з рауаЫе to Ministry of Finance оп account of profit of the Bank transferaЫe under
                article 29 of the ОАВ [а .

                                                                                 30 Qaws 1399 30 Qaws 1398
                                                                         Note    (20 Рес 2020)     (21 Рес 2019)
                                                                                          (Afs in '000')

                Оpening balance as at beginning of the уеаг                         12,759,153            8,991,226
                Тгапз ег against profit Гог the уеаг                                                     27,757,086
                Less: Payment оп account of profit during the уеаг                (12,759,153)          (23,989,159)
                Ва1апсе as ан епд of the уеаг                                                            12,759,153

           23.3 The Bank has discontinued its defined pension зсиепе with е1ес1 from Ната1 1395. The Ьа1апсе
                of епе benefit oЫigation is retained in the Ьоо<з of the Bank as а fu11 reconciliation has по1 уе1
                Ьееп finalized апд is in process. Непсе, the oЫigation wi11 Ье 1гапзеггес] to defined contribution
                oЫigation оп completion of reconciliation process.

           23.4 This includes security deposits received from foreign exchange dealers апд топеу service
                providers.

                                                                             30 Qaws 1399      30 Qaws 1398
                                                                        Note (20 Рес 2020)     (21 Рес 2019)
                                                                                     (Аз in '000')
           23.5 Movement of Auditor's Remuneration

                Оpening Ьа1апсе as at beginning of the уеаг                               3,763                 6,160
                Plus: Provision ог сггеп1 уеаг                                            3,753                 3,759
                Less: Payment during the уеаг                                            (3,763)               (6,156)
                Ва1апсе as at епд of the уеаг                                             3,753                 3,763
                                                                                                                   иЧу




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     ГОР ТНЕ УЕАР ЕНОЕО 30 ОА 4$ 1399 (20 ОЕСЕМВЕР 2020)



     24.   CAPITAL АЮ RESERVES

           24.1 Capital

                 According to Article 27 of the ОАВ Law, the authorised capital of the Вап s А 8,000 million ог
                 such higher amount as sha11 гебц1 опп allocations гогв net рго pursuant to Article 29 of the ОАВ
                 Law. Capital of the Bank is solely held Ьу the Government of Islamic RepuЫic of Afghanistan, апд
                 sha11 по $цЬ]ес o lien ог encumbrances.

                 According to Article 29 of the ОАВ Law, if the Bank has а net рго or апу financial уеаг, it sha11 Ье
                 аИосаес in the following огдег of priority:
                 а)     То capital account of Оа Afghanistan Bank (ОАВ) in such amount as sha11 Ье required to
                        increase the authorized capital of the Bank to а 1е~е1 equivaleпt to five percent of the
                        aggregate amount of monetary liabilities shown оп the consolidated зюаюегпепю of financial
                        position of the Вап) or the епд of юаю financial уеаг;
                 b)     То гедеет the securities issued Ьу the State to the Bank pursuant to Article 31 ал held Ьу
                        the Bank;
                 с)     То the General Reserve maintained Ьу the Bank in such amount as sha11 Ье required to
                        increase the amount of the General Reserve to а 1е~е1 equivalent to the атоипн of the
                        authorized capital of the Вап ; апд
                 д)     То апу other reserve ог specific р'грозез estaЫished Ьу the Bank subject to the approval
                        of Minister of Finance.

           24.2 Revaluation reserve

                 The Bank's revaluation reserve represents the cumulative unrealised gains оп revaluation of gold
                 гезегез at market prices, revaluation of freehold 1апд at fair values апд net unrealised valuation
                 gains €огп а~аi1аЫе-for-sale financial assets at reporting date.

           24.3 Residual undistributed net unreaiised valuation gains

                 The Вап 'з residual undistributed net unrealised revaluation reserve is сгеаюе nдer article 29 of
                 the ОАВ Law. ТЫз represents the cumulative unrealised gains оп the valuation of financial assets
                 апд liabilities at the closing ехсиап9е гаюе at the reporting аюе.

     25.   CONTINGENCIES АЮ COMMITMENTS

           25.1 Contingencies

                There аге по outstanding financial guarantees апб performance guarantees to Ыгб parties
                including the government.
                                                                                  30 Оанз 1399 30 Оачз 1398
                                                                                  (20 Оес 2020)        (21 Оес 2019)
                                                                          Note     ----------- (Мэ in '000') ---------
           25.2 Commitments
                Outstanding letter of credits                                          5,469,737           3,595,284

     26.   INTEREST INCOME

           lnterest income оп:
             Оие гогп Ьапз апб financial institutions                                  1,730,375          5,609,306
             Investments measured at FVOCI                                             3,561,598          3,820,267
             lnterest оп [о(Я                                              11.1            3,361             95,782
                                                                                       5,295,334          9,525,355
                                                                                                                  U Н7

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           26.1 During the уеаг, interest income has decreased significantly дие to decrease in interest rates
                 сазе Ьу COVID-19 pandemic. Ецгег, ог managing credit risk аfнег COVID-19 pandemic, the
                 Bank has liquidated some of its term deposits апд р1асед these amounts in US treasury bi11s having
                 lower credit risk resulting in lower interest income.

                                                                               30 Qaws 1399        30 Qaws 1398
                                                                               (20 Оес 2020)       (21 Оес 2019)
                                                                          Note --------- (Afs in '000') -----------
     27.   INTEREST EXPENSE
           Intвrest expense оп:
             Capital notes                                                17.2           655,167              166,846
             Overnight deposits                                           18.3             7,271                8,309
                                                                                         662,438              175,155

           27.1 During the уеаг, interest expense оп capital notes has significantly increased because carrying
                amount of capital notes has increased гоп Afs 24,780 million to Afs 45,840 million апд аегае
                interest rates оп еэе notes has increased Ьу тоге than 100%л .

                                                                                  30 Qaws 1399 30 Qaws 1398
                                                                                  (20 Оес 2020) (21 Оес 2019)
                                                                                  ---------- (Afs in '000') ----------
     28.   ЫЕТ (LOSS)1 GAiN ЕРОМ DEALINGS 1N ЕОНЕЮЫ CURRENCIES

                                                                                        (124,167)         21,039,852

           28.1 During the уеаг, Afghani appreciated against foreign currencies including US dollars. Аэ а result,
                the Bank incurred loss оп sale of those foreign currencies which еге purchased а higher rates in
                ргеЛоцэ уеагэ.

                                                                               30 Qaws 1399 30 Qaws 1398
                                                                               (20 Оес 2020) (21 Оес 2019)
                                                                          Note ------- (Afs in '000') -----------
     29.   ОТНЕР INCOME

           Regulatory income                                                               91,001             181,081
           Unwinding of discount оп 1о1                                   11.2                                209,126
           Recovery of ехрес1ес credi овэ                                36.1.2          249,424              407,700
           Write-back of inter-branch accounts                            29.1           190,931
           Others                                                                         16,482                9,725
                                                                                         547,838              807.632

           29.1 ТЫз гергеэепэ the balances written Ьас uring the уеаг аэ а геэ 1 of the ongoing reconciliation
                ргосеээ relating to the inter-branch accounts. These mainly include differences in opening balances
                of branches since 1383 ЫсЬ поё ае Ьееп charged ю profit & 'овэ.

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     ГО ТНЕ УЕАН ЕНОЕО 30 ОА5 1399 (20 ОЕСЕМВЕ 2020)


                                                                                  30 Qaws 1399 30 Qaws 1398
                                                                                  (20 Оес 2020) (21 Оес 2019)
                                                                          Note     ----------- (Afs in 000') ----------
     30.   PERSONNEL EXPENSES

           Salaries                                                                   1,627,052             1,600, 662
           Сагде against defined contribution oЫigation                                 111,098               111,312
                                                                                      1,738,150             1,711,974

     31.   ОТНЕг OPERATING EXPENSES

           Repairs апд maintenance                                                       42,490                46,260
           Rent                                                                           7,796                10,101
           Auditor's remuneration                                                         3,753                 3,759
           СопзЫапсу ее                                                                  60,264                28,909
           Staff training                                                                 5,720                14,962
           Printing апд stationery                                                       42,278                31,439
           Office supplies агс maintenance                                               16,146                11,224
           Transportation                                                 31.1          131,269               149,568
           Еее апд subscription                                                           8,822                 5,116
           Communication                                                                 29,579                37,101
           Security services                                                             25,157                 9,814
           TraveIling                                                                    12,815                37,154
           Write-off of inter-branch accounts                                                                  26,117
           Financial assistance to AIBF                                   31.2           23,000
           Utilities                                                                     36,208                37,862
           PuЫications ог риЫгс аагепез8                                                  4,215                25,924
           Оег5                                                                          26,259                40,116
                                                                                        475,771               515,426

           31.1 ТЫ$ includes foreign сиггепсу transportation соз amounting ю Аfs 110.072 million (1398: Аз
                129.192 million) incurred during the уеаг.

           31.2 ТЫз represents financial assistance given to Afghanistan Institute of lanking апд Finance (AIBF) Ьу
                the Вап юо meet юб operational cost ог financial уеаг 2020.

                                                                              30 Qaws 1399 30 Qaws 1398
                                                                              (20 Оес 2020) (21 Оес 2019)
                                                                         Note   -----   (Afs in '000') ------
     32.   EXPENDITURE AGAINST GRANTS

           Depreciation                                                  13.2.4           44,347               99,318
           Amortisation                                                                   14,737               19,926
                                                                                          59,084              119,244

     33.   CASH АЫО СА$Н EQUIVALENTS

           Foreign си ггепсу са$Н reserves                                8.1       34,167,341           19,583,336
           Deposits (having maturity of езб than Втее months)                      114,583,173          221,888,490
           Сггеп1 accounts with foreign banks                              9        29,408,353           45,776,760
           Overnight balances 'ни и oreign banks                           9        56,490,207            8,734,962
           Cash апд Ьап balances held Ьу the Subsidiary                    15            4,461                1,849
                                                                                   234,653,535          295,985,397



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  NOTES ТО ТНЕ CONSOLIDATED FINANCIAL STATEMENTS
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  34.    Е1.АТЕО PARTIES

        Transactions with reIated parties

        The Bank is а Government entity апд the Government of 1slamic RepuЫic of Afghanistan is ultimate owner of the
        Bank. Ге1ае parties to the Bank include the Government of 1slamic RepuЫic of Afghanistan, various
        сераг1а1еп$ of the government апс government controlled entities апд enterprises. The Bank enters into
        transactions with ге1ае parties in its погта1 course of business ап t is impracticaЫe to disclose а11
        transactions with ге1ае parties. Generally the Вап епегз into the following transactions with the government
        ап its related organizations.

        (а)   The Вап асз as а depository of the government ог its agent, providing banking зег'Лсез ю government,
              доегпглеп1а1 organizations апд enterprises;
        (b)   Issues letters of сгес5 оп behalf of government, governmental organisation ап enterprises;
        (с)   The Вап соез пою ordinarily collect апу commission, ее$ ог other сагдез ог the services which it
              renders юо the government; ап
        (д)   Аз ап agent of the government, the Ьап глападез foreign reserves.

        Members of the Supreme Council
        Н.Е Мг. Ajma1 Ahmady, Acting Ооуегпог & Chairman of the Supreme Council
        Н.Е Ог. Shah Mohammad МегаЫ, member of the Supreme Council апд Chairman of the Audit Committee
        Н.Е Dr. Muhammad Naim A2imi, member of the Supreme Council
        Н.Е Dr. Abdul Waki1 Muntazer, тетЬег of the Supreme Council
        Н.Е Мз. Katrin Fagiri, тетЬег of the Supreme Council

        МегпЬегз of the ЕхесЫе Board
        Н.Е Мг. Ajma1 Ahmady, Acting Ооуегпог & Chairman of Supreme Council
                                                                                30 Qaws 1399       30 Qaws 1398
                                                                                (20 Оес 2020)      (21 Оес 2019)
        Transactions with key management personnel                                        (Afs in 000')

        Кеу management personnel compensation
        Sa1ary апд other етр1оуее benefits                                              10,885                 21,337

        compensation of the Вап 'з key management personnel includes saIaries апд benefits.

        Л-ю transactions апд outstanding balances reIated to key management personnel чеге as follows:

                                                                                30 Qaws 1399        30 Qaws 1398
                                                                                (20 Оес 2020)       (21 Оес 2019)
                                                                     ю'4о!е               (Afs in '000')
        Loans to key management personnel
        Loans outstanding as at beginning of the уеаг                                  16,792                  19.095
        Loans а!апсе       ring the уеаг                                                1,000
        [оап герауглеп!з during the уеаг                                               (2,188)                 (2,303)
        Loans outstanding as at епд of the уеаг                                        15,604                  16,792

        Other related рагу transactions
        Assistance as 1епдег of last гезог
        Repayments received during the уеаг                           11.1                                  7,100,000
        Ва1апсе outstanding as at the уеаг епд                        11.1            170,154                 166,793

        Ад',апсе ог Afghanistan Deposit Insurance Corporation
        Ва1апсе outstanding as at the уеаг епд                        12.2            500,000                 500,000

        Ооегпгпеп ассоипнв
        Opening outstanding balance                                               105,990,703             111,133, 304
        Оерозз during the уеаг                                                  1,088,055,772             982.086,583
        Payments during the уеаг                                               (1,077,822,592)           (987,229,1 84)
        Closing outstanding balance                                               116,223,883             105,990,703
                                                                                                                  l( {+-t
                                                                                                                            38
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  ОА AFGHANISTAN ВАНК
  НОТ$ ТО ТНЕ CОNSОLIDATEО FINANCIAL STATEMENTS
  РО ТНЕ УЕА        ЕNОЕ0 30 ОА 1$ 1399 (20 ОЕСЕМВЕА 2020)

  35. FINANCIAL ASSETS АН0 L1ABILITiES

     ClassiПcation of fiпапсiа1 instrument апб fair values

     The наЫе below sets out the СгОцр'з ciassification of еаси ciass о( Ппапсга1 assets апб liabilities.


                                                                               Assets at falr       Assets at 1а1г
                                                                               ~а1ие through        VaIue through
                                                                               рrоПt ог loss             ОС1          Amortlsed соз!      Tota1
                                                                     Note                                  (А!з 1n '000') —
     30 Оаз 1399 (20 December 2020)

     Financial Assets
     Foreign сиггепсу савн reserves                                    8                                                34,167,341      34,167,341
     0 зе from banks ап financial institutions                         9                                       -       254,804,239     254,804,239
     Investments                                                       10                              368,813,780                     368,613,780
     Assistance as 1епдег о( last resort                               11                                                  170,154         170,154
     Advances апб other receivaЫes                                     12                                                1,715,346       1,715,346
     Оtherassets                                                       15                    -                               4,461           4,461
                                                                                                       368,813,780     290,861,541     659,675,321

    Flnanclal LiaЫlities
    Сипепсу in circulation                                             16                                              293,341,380     293,341,380
    Capital попе$                                                      17                                               45,849,384      45,849,384
    0це from banks апб financial institutions                          18                                              100,079,198     100,079,198
    0ие to са!огяегз                                                   19                                              144,323,269     144,323,269
    1МЕ related liabilities                                            20                                                3,692,126       3,692,126
    Defneд contribution oЫigation                                      21                                                1,909,843       1,909,843
    Provisions апд other liabilities                                   23                                                1,567,667       1,567,667
                                                                                                                       590,762,867     590,762,867

     30 Оа з 1398 (21 0есетЬег 2019)

    Flnanclal Assets
    Foreign сиггепсу савн reserves                                     8                                                19,583, 336     19,583,336
    0ие from banks апд Пnancial institutions                           9                                               355,946,615     355,946,615
    Investments                                                        10                              218,264,106                     218,264,106
    Assislance аа 1епдег of 1а$t ге$0г1                                11                                                  166,793         166,793
    Advances апд other receivаЫes                                      12                                                1,103,394       1,103,394
    Оther assets                                                       15                                                    1,849           1,849
                                                                                                       218, 264,106    376,801,987     595,066,093

    Flnanclal L1abiltties
    Сипепсу in circulation                                            1б                                               259,348,259     259,348,259
    Capital по!е$                                                     17                                                24,775,173      24,775,173
    0ие from banks апб financial institutions                         18                                                97,224,024      97.224,024
    0ие to customers                                                  19                                               730,121,482     130,121,482
    1М геиа!е liabilities                                             20                                                 3,003,600       3,003,600
    0е6пе contribution oЫigation                                      21                                                 1,769,903       1,769,903
    Ргочьопв ап olher liabilities                                     23                                                14,261,347      14,261,347
                                                                                                                       530,503,788     530,503,788

    Fair а1ие is the price that о!б Ье гесеiиед (гот ва1е of ап asset ог paid to !гап$!ег а liabilily in ап огдег1у transaction betweeп market
    рагнгсграпнв at the гпеазигегпеп! date.

    Financial assets which аге !гадаЫе in ап ореп market аге revalued at the market prices prevailing оп иие consolideled stalement of financial
    position date. The estimated fair а1ие of а11 other financial assets ап liabilities is сопзнаеге пы significantly дifferent (гот Ьоон 'а1пе.


    ТПе наЫе below sets out fair values of the Bank's financial assets апд liabilities.

                                                                                     ий1
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   ДА АЕ6НАИ1SТАИ ВАИК
  ИОТЕS ТО ТНЕ СОИ$ОL1ОАТЕО Е1ИАИС1АL SТАТЕМЕИТ$
  FОi ТНЕ УЕАА ЕИОЕД 30 ОАЬУ$ 1399 (20 ОЕСЕМВЕА 2020)

                                                                                     20 December 2020                       21 December 2019
                                                                                       30 0аз 1399                            30 Оа$ 1398
                                                                                                                         Carrying
                                                                            Caгrying агпопп           а1г ~а1ие           amount      Falr value
                                                                    Note                                  (Afs 1п '000') ----------
     30 0а'$ 1399 (20 December 2020)
     FInancial А$зе1$
     Foreign сиггепсу савн гезегчез                                   8            34,167,341         34,167,341         19,583,336      19,583,336
     Оие from banks апд financial instituions                         9           254,804,239        254,804,239        355,946,615     355,946,615
     lnvestments                                                     1о           368,813,780        368,813,780        218,264,106     218,264,106
     Assistance as 1епдег of last resort                             11               170,154            170,154            168,793         186,793
     Advances апд otherreceivaЫes                                    12             1,715,346          1,715,346          1,103,394       1,103,394
     Оther assets                                                    15                 4,461              4,461              1,849           1,849
                                                                                  669,675,321        659,675,321        595,066,093     595,066,093
     Financial L1aЫ11ties
     Сиггепсу in circulalion                                         16           293,341,380        293,341,380        259,348,259     259,348,259
     Capital пЫеа                                                    17            45,849,384         45,849,384         24,775,173      24,775,173
     Оие from banks апб financial inslitutions                       18           100,079,196        100,079,198         97,224,024      97,224,024
     0пе to customers                                                19           144,323,269        144,323,269        130,121,482     130,121,482
     ‚МЕ related liabilities                                         20             3,692,126          3,692,126          3,003,600       3,003,600
     Оейпе contribution oЫigalion                                    21             1,909,843          1,909,843          1,769,903       1,769,903
     Provisions апд other liabilities                                2Э             1,567,667          1,567,667         14,261,347      14,261,347
                                                                                  590,762,867        590,762,867        530,503,788     530,503,788

     Тне following наЫе shows бпапсiа1 instruments recognised а fair value, analysed Ье*ееп those whose fair value is based оп:
     Leve1 1: Fair value measurements using quoted prices (unadjusted) in active markets (ог idenнcal assets ог liabilities.
     Leve1 2: Fair value meesurements using inputs other than ио(е priсеs included within Leve1 1 ((,а аге observaЫe (ог the asset ог liability,
              either directly (i.e. а5 prices) ог indirectly (i.e. деггиед from priсеs).
     Leve1 3: Fair value яеанпгегяеп(б using inputs (ог the asset ог 1гаЫ1itу that аге по( based оп observaЫe тагкес ааа (i.e. unobserv аЫ6
              inpu(s).

     Тне наЫе Ьеlош analyses Ппапсiа1 instruments meesured а( the епд of the reporting реггод Ьу the 1ече1 in the fair vaiue ннегагсн'у into which the
     fair а1пе measurement is categorised:

                                                                                 Leve1 1              Leve12            Level3             Tota1
                                                                                                         (Afs in '000')

     30 0ан 1399 (20 December 2020)
     Оие from banks апд financial institution5                                            -          254,677,074                        254,677,074
     US treasury bonds апд other 5ecurities                                       187,120,796                -                          187,120,796
     US treasury Ьопдв                                                              4,149,044                                             4,149,044
     US Тгеабпгу Bi11s                                                            145,693,372                                           145,693,372
     Bank (ог International Set(ements lnvestment Рос' - А                         30,416,640                                   -        30,416,640
     Shares in ЕСОТОВ                                                                     -                               1,433,928       1,433,928
     Assistanсе as 1епдег of last resort                                                                                    170,154         170,154
     Advances апб other receivaЫes                                                                                        1,715,346       1,715,346
     Оther assets                                                                                                             4,461           4,461
                                                                                  367,379,852        254,677,074          3,323,889     625,380,815

    30 Оаз 1398 (21 December 2019)
    Оие from banks апд financial institutions                                             -          355,570,353                        355,570,353
    US treasury bonds апд other securities                                        182,929,450                                           182,929,450
    US treasury bonds                                                               4,075,418                                             4,075,418
    Вагй (ог International Settlements lnvestment Рос' - А                         29,825,310                                            29,825,310
    Shares in ЕСОТОВ                                                                                                      1,433,928       1,433,928
    Assistance as lender of last resort                                                                                     166,793         166,793
    Advances апд other receivaЫes                                                                                         1,103, 394      1,103,394
    Оtherassets                                                                                                               1,849           1,849
                                                                                  216,830,178        355,570,353          2,705,964     575,106,495

                                                                                                                                              Чиу



                                                                                                                                                         40
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   оА AFGHANISTAN BANK
   НОТЕЗ ТО ТНЕ CОN3ОLIDATED FINANCIAL ЗТАТЕМЕНТ$
   РОП ТНЕ УЕАК ЕНОЕО 30 ОА 3 1399 (20 ОЕСЕМВЕА 2020)

   36. RISK МАНАСЕМЕНТ PОLICIES

     The Supreme Council of the Group, chaired Ьу the СЗоуегпог, has the overall responsibility апд oversight of the
     Group's risk management framework. The Group is primarily зцЬ1ес1 to credit, liquidity, market (interest ап
     сиггепсу) risks апд operational risk. The policies апд ргосес игез Гог managing these risks аге outlined in notes
     36.1 to 36.5. The Group has designed ап implemented а framework of controls to identify, monitor and manage
     these risks. The senior management is responsiЫe ог advising the Ооуегпог оп the monitoring ап managing of
     these risks. 1п aдdition, International Мопе1агу Fund (IMF) representatives visit the Bank periodically to advise
     senior management апд the Ооуегпог оп the management of these risks.

     The Market Оperations оераг1гпеп1 within the Bank is responsiЫe ог monitoring the Foreign Сиггепсу езегез
     as рег the !ank's Reserves Мападегпеп1 Policy ап Guidelines.

     36.1   Credit risk management

            Credit risk is the risk that the coun1erparty to а financial instrument wiil fail to discharge ап оЫigation ог
            commitment that it has еп1еге into with the Огоир, resulting in а financial loss to the Group. The Group's
            primary ехрозеге to credit risk arises through investment in government securities, deposits with banks
            ап nancial institutions ап investments in ЕVОС1 financial assets. Credit risk arisin гогя deposit with
            banks апд financial institutions is пападе ёу monitoring, reviewing апд analyzing these дeposits
            frequently. Investments аге таре in government securities, securities issued Ьу government entities ап
            other highly reputaЫe organizations; periodic monitoring ап review is carried о1Ьу the management. The
            Огоир гпапаез credit risk arising from issuance of letters of credit Ьу obtaining 100°/о margin against
            letters of credit.

            Concentration of credit risk

            The Group's concentration of credit risk ехрозыге is as follows:
                                                                                         30 Оачз 1399       30 Оа'чз 1398
                                                                                         (20 Оес 2020)      (21 оес 2019)
                                                                            Note

            Оие from banks апд financial institutions                           9          254,804,239        355,946,615
            Investments                                                        10          368,813,780        218,264,106
            Assistance as lender of last гезог1                                11              170,154            170,154
            Асапсез апд о1)ег receivaЫes                                       12            1,715,346          1,103,394
            О11,егаззе1з                                                       15                4,461              1,849
                                                                                           626,607,980        575,486,118

            The Сгоир neither eners into пог is а рагну to financial instruments апд contractual oЫigations that, ипдег
            certain conditions, сои1д give rise to ог involve elements of, гпаг1е1 ог credit risk in ехсезз of that зиочп in
            the consolidated з1а1егпеп1 of financial position, such as interest гаюе зарб, forwarд foreign ехсиап9е
            contracts, financial guarantees, апд commitments to ех1еп credit.

            The analysis Ье1о summarises the credit quality of the Group's liquid portfolio as оп 20 December 2020:
                                                                                                                      ц0у



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  вА AF GHAISTAN ВАЫК
   МОТЕ3 ТО ТНЕ CОNSОIIDATED FINANCIAL STATEMENTS
   FОR ТНЕ УЕА     ЕНОЕО 30 QAWS 1399 (2O ОЕСЕМВЕП 2O2O)



          Оие гогп banks апд term deposits rating Ьу Rating Сае9огу
                                                                                  30 Qaws 1399 30 Qaws 1398
                                                                                  (20 Dec 2020)   (21 Оес 2019)
          Short Тегт                                                Г'4ое                 (Аб in '000')

          А-1+                                                                          29.28°/о        14.85°/о
          А-1                                                                           36.53°/о         8.91%
          А-2                                                                           17.02%          44.57°/о
          А-3                                                                           16.83%          25.65°/о
          в                                                                              0.00°/о         0.25°/о
          1)пгае                                                                         0.34°/о         5.77°/о
                                                                                       100.00°/о       100.00%

          Те 3гоцр monitors concentrations 0f сге   risk Ьу зесог апд geographic location.

          Те following наЫе геа down the Group's main credit ехро ге Ьу geographical region. Еог Ы$ наЫе,
          the Огоцр has allocated exposures to the regions Ьа$еб оп the country of domicile of counterparties.


                                  Оие Ггогп
                                                               Advances апд
                                  banks and                                       Assistance а$
                                                Investments        other                             Tota1
                                   f1ПаПС1а1                                         а [о1Я
                                                                receivables
                                 institutions
                                                                 (А!   n '000')

          30 Qaws 1399 (20 December 2020)

          Afghanistan                     -                        1,715,346           170,154       1,885,500
          Asia                    41,298,402                                                        41,298,402
          Еигоре                 156,955,235     31,850,568                                        188,805,803
          America                 56,550,602    336,963,212                                        393,513,814
                                 254,804,239    368,813,780        1,715,346           170,154     625,503,519

          30 Qaws 1398 (21 December 2019)

          Afghanistan                    -                         1,103, 394          166,793       1,270,187
          Asia                    98,259,614            -                                           98,259,614
          Еигоре                 161,122,031     31,259,238                                        192,381,269
          America                 96,564,970    187,004,867                                        283, 569,837
                                 355,946,615    218,264,105        1,103,394           166.793     575,480,907




                                                                                                             42
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   ДА АРОНАЫ1SТАИ ВАИК
   ИОТЕ5 ТО ТНЕ СОНЗОIЮАТЕО Е1ИАИС1АL 3ТАТЕМЕИТ3
   I О1 ТНЕ YEAI ЕНОЕП 30 ОАУ5 1399 (20 ПЕСЕМВЕП 2020)



     36.1.1 Сге   risk measurement

           The estimation of credit exposure for risk гпапаегпеп purposes is сотр1ех апд requires the use of
           models, as the ехрозыге varies with changes in market conditions, expected сази flows апд the раззае
           of time. The assessment of credit risk of а portfolio of assets entails further estimations as to the Iikelihood
           of РеаЫз occurring, of the associated loss ratios апд of default correiations Ье'чееп counterparties. Рог
           risk гпапаегпепи reporting purposes, the Group considers апд consoiidates 1оап size as ап element of
           credit risk ехрозге. The Group гт'еазгез credit risk using Probability of Default (РО), Ехрозиге at Default
           (ЕАО) апд юзн Given Default (LGD).

           ЕхресеР credit loss measurement

           1FRS 9 outlines а 'three-stage тоде1 for impairment based оп changes in credit quality since initial
           recognition as з   агiеР Ье1оы:

           - А financial assets that is по credit-impaired оп initial recognition is classified in 'Stage 1' апд has из
             credit risk continuously monitored Ьу the Group.
           - 1f а significant increase in credit risk (S1CR) since initial recognition is identified, the financial assets is
             то~ед to 'Stage 2' ыи is пои уеt деетед to Ье credit-impaired.
           - 1f the financial assets is credit-impaired, the financial instrument is then то~ед to 'Stage 3'.
           - Financial assets in Stage 1 have their ЕСI. measured at ап агвопю equal to the portion of lifetime
             expected credit losses that result from default ееп1з possiЫe within the пехи 12 months. Assets in
             Stages 2 ог 3 have their ЕСI. measured based оп expected credit losses оп а lifetime basis.
           - А pervasive concept in measuring ЕСI. in ассогдапсе with IFRS 9 is that it should consider forward-
             Iooking information.
           - Purchased ог originated credit-impaired financial assets аге those financial assets that аге credit-
             impaired оп initial recognition. Their ЕСI is always measured оп а lifetime basis (Stage 3).

           Significant increase in credit risk

           When determining иеюиег the risk of default оп а financial instrument has increased significantly since
           initial recognition, the Group considers геавопаЫе апд supportaЫe information that is reievant апд
           ауаi1аЫе without ипдие соз ог effort. This includes ьоии quantitative апд qualitative information апд
           analysis, based оп the 6гоцр'з historical experience апд expert credit assessment апд including fonиard-
           looking information. The objective of the assessment is to identify whether а significant increase in credit
           risk has оссиггед for ап exposure Ьу comparing:

             The remaining lifetime РО as at the reporting date; with
             The remaining lifetime PD for юыз point in time that аз estimated at the time of initial recognition of the
             exposure (ad)usted иеге relevant for changes in prepayment expectations).

           The Group uses following criteria for determining иеюиег юиеге has Ьееп significant increase in credit risk:
           - Quantitative юезю based оп movement in PD; апд
           - ЕогЬеагапсе status.




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   ДА А GHAN8SA1 ВАНК
   IiОTE3 ТО ТНЕ СОН8О1ЮАТЕЕЭ РINANCIAI STATEMENTS
   FОi ТНЕ УЕА    Е1ЮЕi 30 QAWS 1399 (20 ОЕСЕМВЕН 2020)



          "ЕогЬеагапсе оССЦГ$ ироп restructuring, i.e. prolongation in payment еггпз of раугпеп of interest ог
          principal arising from а deterioration of а Ьоггоегз financial condition such that it is пы the same as it was
          а he time of loan origination ап а borrower has applied Гог а change in the payment scheme of the 1оап.
          Restructuring оп1у occurs when the appropriate division of the Огоир is геавопаЫу confident Ва1 а
          borrower is аЫе to земсе the гепеес] payment schedule.

          Multiple economic scenarios Гоггя the basis of determining the PD а initial recognition ап at subsequent
          reporting с1аез. Different economic scenarios wi11 1еад to а different PD. 1t is the weighting of these
          different scenarios that forms the basis of а weighted аегае PD that is used to determine whether credit
          risk has significantly increased. Forward-looking information includes the future prospects of Afghanistan
          есопоту obtained from economic expert герОг$, financial analysts, governmental bodies, гееап hink-
          tanks ап other similar organizations, as we11 as consideration of various internal ап external sources of
          actual ап Гогесаз economic information.

          Definition of default

          Critical to the determination of ЕСI. is the definition of default. Те definition of default is used in measuring
          the amount of ЕСI. апд in the determination of whether the loss allowance is Ьабе оп 12-month ог lifetime
          ЕСI, as default is а component of the probability of default (PD) which аГГесз both the measurement of
          ECLs ап the identification of а significant increase in credit risk.

          The Огоир considers the following as constituting ап ееп of default:

          Те сопгас is раз дие тоге than 30 ауз; ог
          The credit oЫigations геЛес1е in the сопгас1 is unlikely to Ье paid to the Огоир in fu11.

          The definition of default is appropriately tailored to reflect different characteristics of different урез of
          assets. УЛ,еп assessing if the borrower is unlikely to рау its credit oЫigation, the огоир takes into ассоп1
          ЬоВ ualitative апд quantitative indicators. Quantitative indicators, such as overdue з1а1б ап поп-
          payment оп another oЫigation of the same соп1еграг1у аге key inputs in 1Ыз analysis. The Огоир uses а
          variety of sources of information to аззезз default which аге either де~е1оред internally ог obtained from
          ех1егпа1 sources.

          The following diagram з       тагiез the impairment requirements ипдег IFRS 9 (оииег than purchased ог
          originated credit-impaired financial assets):

                           Stage 1                              Stage 2                               Stage 3

                     (Initial recognition)           (Significant increase in credit        (credit-impaired assets)
                                                      risk since initial recognition)

              12-month expected credit losses       Lifetime expected credit losses     Lifetime ехреснед credit losses




                                                                                                                        44
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   ДА AF6НANISTAN ВАИК
    ОТЕ5 ТО ТНЕ СО9О1ЮАТЕО FINANCIAL 3ТАТЕМЕНТЗ
   ЕОН ТНЕ УЕА  ЕНОЕО 30 QA i$ 1399 (20 ЕСЕМВЕ 2020)


     36.1.2 Моуегт'еп 1n Ехрес1ес СгесВ 1озе5

           The following наЫе reconciles the expected сгесЫ losses allowance for the уеаг епдед 20 December 2020
           Ьу classes of financial instruments:

                                                        Оие from                         Advances and
                                                       Banks апд       investments           other
                                                                                                                ТЫа1
                                                        Financial                         receivaЫes
                                                      lnstitutions
                                                        Note 9.3        Note 10.6            Note 12.5
                                                                       ----------- (А!з in '000') ---------

     Оpening Ьа1апсе as а 21 December 2018                                                      150,731          150,731
     1трасн оп initial recognition of IFRS 9              800,647              8,571                -            809,218
     Ва1апсе as а 22 December 2018                        800,647              8,571            150,731          959,949

     Ехресе credit loss / (гесоуегу)                      (424,386)           (1.655)            18,341          (407,700)
     Ва1апсе as а 21 December 2019                         376,261             6,916            169,072           552,249

     Expected credit loss / (recovery)                   (249,096)               290                (61в)       (249,424)
     Ва апсе as а 20 ОесетЬег 2020                        127,165              7,206            168,454          302,825

     36.1.2 Measurement of ЕСI.

           Те еу inputs into the глеазгегпеп of ЕСI аге the
           еггя structure of the following variaЫes:
           - Probability of default (РО);
           - Loss given default (LGD);
           - Ехрозцге а efault (ЕАО).

           Т1езе parameters аге generally derived from internally деёе1оред statistical models ап other historical
           саа.
           Probability of default (РО),

           The Group defines а financial instrument as in defaul        ,еп the financial аззе is credit - impaired апд
           meets опе ог тоге of the following criteria:

           Quantitative сггнегiа
           The Ьогго'ег is тоге      ап 90 ауз раз дие оп its contractual payments аге considered default Ьу the
           Group.

           Qualitative criteгia
           - а ьгеаси of сопгас, such as default ог раб дие event;
           - the lenders of the counterparty иае granted а concession to the соп1еграг1у for economic ог
             contractual геазопз;
           - relating to the counterparty's financial difficulty иа he 1епдег would по otheгwise consider;
           - the likelihood ог probability that the counterparty wi11 епег bankruptcy ог other financial reorganization; ог
           - the dissolution of ап active гпагие for that financial аззе ие to financial difficulties.
                                                                                                       ии7



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   оА АЕОНАИ1SТАИ ВАИК
   NОTES ТО ТНЕ СОИ9О11ДАТЕО Е1ИАИС1АL 3ТАТЕМЕИТ3
   РОЙ ТНЕ УЕАЙ ЕИОЕР 30 gА i$ 1399 (20 ОЕСЕМВЕЙ 2020)


          Credit rating апд РО estimation process

          The Group's РО estimation process is based оп the

            lnternal rating description                                              12 month РО      External Rating
            Performing
            High grade                                                                                   Sovereign
            High grade                                                                                     АРА
            High grade                                                                                  АА+ to АА-
            High grade                                                                                    А+ to А-
            Standard Grade                                                                             ВВВ+ to ВВВ-
            Standard Grade                                                                              ВВ+ to ВВ-
            Standard Grade                                                                                B+to В-
            Being beiow standard                                                                       ССС+ to ССС-
            Being beiow standard                                                                            СС
            Мсп performing                                                                100%о

          Exposure at default (ЕЛО)

          Exposure at default герге$еп1б the дгозз carrying amount of the financial instruments subject to the
          impaiпnent calculation, addressing both the client's ability to псгеазе (в exposure whiie аррг0асЫп9
          default апд potential еаг1у repayments (со. То са1си1ане the ЕЛО for а Stage 1 1оап, the (Згоцр азвевзев
          the possiЫe default events within 12 months for the calculation of the 12тЕС1. Рог Stage 2 апд Stage 3
          the exposure at default is considered for events оуег the lifetime of the instruments. The бгоцр determines
          ЕАОв Ьу modelling the гапе of possiЫe exposure оыюсогпев at various points in time, corresponding the
          multiple scenarios. The 1FRS 9 РОв аге then assigned to еасн economic scenario based оп the outcome
          of Group's models.

          Loss given default (LGD)

          Loss given default гергезеп(в the Group's expectation of the ех(еп( of 'овэ оп а defaulted ехроэцге. LGD
          varies Ьу type of counterparty, type апд seniority of claim апд availability of со11анега1 ог other credit
          support.

          Signiflcant increase in credit пз1

          The Group considers а financial авэе( to have experienced а signiI'ict increase in credit risk Меп:

          - credit rating fa11s beiow investment grade in саве of investments таре in financial assets, ог
          - the contractual раугпеп(в аге 30 баув равн дие.

          Collateral апд other credit enhancements

          То mitigate (э credit risks оп financial assets, the бгоцр seeks to ве collateral, where possiЫe. The
          collateral согг'еэ in various !огпв, such аэ cash, securities, letters of credit/guarantees апд детапд
          promissory notes. The collaterals held against financials assets of the Group have Ьееп снэс1овес in their
          respective notes, неге арр1гсаЫе.




                                                                                                                  46
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ДА AI GHANI$ТАЫ ВАИК
ЫОТЕ5 ТО ТНЕ CONSOLIDATED FINANiAL 5ТАТЕМЕЫТЗ
ОП ТНЕ YEAI ЕГОЕО 30 OtАWS 1399 (20 ОЕСЕМВЕ                       2020)

  36.2 Liquidity risk

       Liquidity risk is the risk that the Сгоир wi11 encounter difficulty in meeting the oЫigations associated with its financial liabilities that аге settled Ьу delivering cash ог
       апоег financial asset. 1п огдег to гедисе the 1е~е1 of liquidity risk arising out of the 1оса1 сиггепсу activities, the Bani гпападез the daily liquidity position of the
       banking system including advancing апд withdrawal of funds from the зуегп (ог smoothening out daily peaks апд troughs.

       The наЫе Ье1о analyse the Group's financial liabilities into ге1еап( maturity 9го1рп9з Ьаес оп the remaining period at the сопзоПс1аес statement of financial
       position са1е to the contractual maturity date. The amounts in the наЫе аге the contractual undiscounted cash 11ол' .

       The maturity ргоЫе of the Вап '$ liabilities based оп contractual maturities is given below:

                                                           Сго$$ nominal
                                                                                                                     З о 12                                             Carrying
                                                              inflow /         Ор но 1 month 1 to 3 months                         1 ю 5 уеагв      Оег 5 уеагв
                                                                                                                     months                                             amount
                                                             (оц11он)
                                                   Мое                                                            (А(б in '000') ------------_~_----

       30 Qaws 1399 (20 December 2020)

       Financial assets
       Foreign сиггепсу савн гезегеs                 8          34,167,341        34,167,341                               -                                            34,167,341
       Оие from Ьап апд financial institutions       9         254,804,239       196,098,074        4,467,803       54,238,362                                         254,677,074
       lnvestments                                   10        368,781,440         8,581,398       81,337,927       75,498,559      203,363,556                        368,813,780
       Assistance а lender of last геог1             11            170,154                -               -            170,154                                             170,154
       Муапсеб апд other receivaЫes                  12          1,715,346            21,018           42,036          174,029          638,137          840,126         1,715,346
       Other а е1                                    15              4,461             4,461              -                -                                 -               4,461
                                                               659,642,981       238,872,292       85,847,766      130,081,104      204,001,693          840,126       659,548,156

       Liabilities
       Сиггепсу in circulation                       16        293,341,380                                                  -                        293,341,380       293,341,380
       Capital по1е                                  17         45,849,384        13,554,173          5,793,346      26,501,865                                         45,849,384
       Оие to banks ап financial institutions        18        100,079,198        75,028,608                -        24,665,065         385,525                        100,079,198
       Оие юо сз1огпег$                              19        144,323,269       138,853,532          5,469,737             -                                          144,323,269
       'МЕ related liabilities                       20          3,692,126         3,692,126                                -                 -                          3,692,126
       Defined contribution оЫigation                21          1,909,843         1,909,843                                                                             1,909,843
       Provisions ап other liabilities               23          1,567,667         1,567,667                                                                             1,567,667
                                                               590,762,867       234,605,949       11,263,083        51,166,930         385,525      293,341,380       590,762,867

       Net liquidity дар                                        68,880,114         4,266,343       74,584,683        78,914,174     203,616,168     (292,501,254)       68,785,289




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ОА AFGHAN1$ТАН ВАЮ(
НОТЕЗ ТО ТНЕ CONSO1.OATED FINANCIAI STATEMENTS
РО   ТНЕ УЕА     ЕЫОЕО 30 QAWS 1399 (20 ОЕСЕМВЕВ 2020)



                                                          ОГ0ЭЗ nominal
                                                                                                            З о 12                                      Caпying
                                                             inflow 1     Ор to 1 month 1 to 3 П1ОП $                    1 to 5 уеагв   Очег 5 уеагв
                                                                                                            ПОП1$                                       amount
                                                            (оЛоу)
                                                   Note                                                  (Аб in '000')

       30 Оачб 1398 (21 December 2019)

       Financial assets
       Foreign сипепсу савн reserves                8        19,583,336     19,583,336                                           -               -       19,583,336
       Due €огя banks апд financial institutions    9       355,946,615    144,892,961     132,167,199      78,886,455           -               -      355,570,353
       lnvestments                                  10      218,264,106            -                           380,138   217,883,968                    218,264,106
       Assistance аб 1епдег Ы last гезог            11          166,793            -                           166,793                          -           166,793
       Advances аяс other receivaЫes                12        1,103,394         11,219          22,438          83,127       240,776        745,834       1,103,394
       Оtherassets                                  15            1,849          1,849             -               -             -              -             1,849
                                                            595,066,093    164,489,365     132,189,637      79,516,513   218,124,744        745,834     594,689,831

       Liabilities
       Сипепсу in circulation                       16      259,348,259            -                               -             -      259,348,259     259,348,259
       Capital поез                                 17       24,775,173      6,533,217       8,282,550       9,959,406           -              -        24,775,173
       Due to banks апд financial institutions      18       97,224,024     73,897,466             -        22,934,516       392,042                     97,224,024
       Due to customers                             19      130,121,482    126,526,198       3,595,284             -             -                      130,121,482
       'МЕ related liabilities                      20        3,003,600      3,003,600                                                                    3,003,600
       Defined contribution oЫigation               21        1,769,903      1,769,903                                                                    1,769,903
       Provisions апд other liabilities             23       14,265,110     14,265,110                             -             -                       14,265,110
                                                            530,507,551    225,995,494      11,877,834      32,893,922       392,042    259,348,259     530,507,551

       Net liquidity gap                                     64,558,542     (61,506,129)   120,311,803      46,622,591   217,732,702    (258,602,425)    64,182,280

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ОА AFGHANISTAN ВАиК
NОTES ТО ТНЕ CОNSОUDATED FINANCIAL STAТEMENTS
ЕО   ТНЕ УЕАП ЕМОЕО 30 QAWS 1399 (20 ОЕСЕМВЕР 2020)

 36.3 Маге! risk

      Market risk is the risk that the fаir value of future cash Пошв of а financial instrumenl wi11 Пuctuate because of changes in market prices. Маг1е1 risk comprises 111гее 1уреЗ of risk: interest
      гаее risk, сиггепсу risk апд other price risk, such as ещЛ!у price risk апд commodity risk. The Group is exposed to market risk, as а consequence of its operations to deliver its policy
      оЬес1геЗ as we11 as in the course of managing 11е СгО1р'5 consolidated statement of financial position, principally lhrough changes in the relative interest rates received оп its assets
      апд paid оп iIs liabilities. Exposure тау also Ье incurred to changes in exchange rates and 1о shifts in general market conditions, such as the liquidity of asset markets.


      А11 market risk is managed within the Вап1 'З Market Оperations 0ераг1леп1 lhrough Reserves Мапа9еп1еп1 Policy апд Guidelines. The Group is exposed to interest га1е risk principally
      'Ла its investmenls in availaЫe for sale financial assets and short term deposits илнн other banks апд financial institulions boughl апб held to maturity in погта1 circumstances with the
      intention of maintaining the value of the Group's capital апд generating income to рау for the Group's policy functions.

 36.4 Interesc rate risk exposure

      interest rate risk is the risk that the fair value ог future cash 8о of а financial instrumenl wi11 Пuctuate because о! changes in market interest rates. The Group's investmenls апб short
      term deposits ипнн other banks апд financial institulions аге primarily linked to prevailing market conditions. А11 other liabilities of the Group аге поп interest bearing ехсер1 the capital
      по1еЗ апд overnight deposits included in дие to banks апд financial institulions.

      The Group 1ое5 по! have апу material positions in оff-Ьа1апсе-внеен inslruments, whose value сап Ье аffес(ед Ьу interest rate changes, such as swaps, futures, апб forwards; ор1ЁОп
      соп1гас1З, such as сарЗ. Пoors, and options оп futures; апд firm !ог\аг1 commitments to Ьу ог se11 loans, securities. ог other financial instnuments.

      The наЫе ьеио summarises the Group's exposure to interest rate risks. 1пс1идед in the наЫе аге the Group's financial assets апд liabilities а1 carrying ог ге~аlиед amounts, calegorised
      Ьу earlier of contractual reprising of maturity да1ев. !10п interest bearing financial inslruments аге shown for reconciliation purposes.

                                                                                                                   interest bearing
                                                              Interesc rates          1р to 1          1103             31о12       1 to 5 уеаг         То1а!         Non-interest
                                                                                                                                                                                            Tota1
                                                                   (р.а)              month           months           months                                           bearing
                                                      Ыо1е                                                                           (А!З in '000')
      30 Оа$ 1399 (20 December 2020)

      Financial assets
      Foreign сиггепсу cash гееге                       8                                                                                                                34,167,341       34,167,341
      Оие from banks апб financial institulions         9      -О.Б7 - 0.65°/о      166, 689, 721      4,467,803      54,238,362             -        225,395,886        29,408,353      254,804,239
      Investments                                      10       0.06 - 3.35%          8,581,398       81,337,927      75,498,559     171,512,988      336,930,872        31,850,568      368,781,440
      Assistance as 1епдег of last resort              11                                                                                                                   170,154          170,154
      Ас1апсез апд other receivaЫes                    12                                                                                                                 1,715,346        1,715,346
      О11ег аЗЗе1З                                     15                                                                                                                     4,461            4,461
                                                                                    175,271,119       85,805,730     129,736,921     171,512,988      562,326,758        97,316,223      659,642,981

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ОА AFGHANISTAN ВАНК
ЫОТЕ5 ТО ТНЕ CОNSОLIDATED FINA ICiA1 STATEMENTS
FОI ТНЕ УЕАП ЕНОЕО 30 ОА5 1399 (20 ОЕСЕМВЕв 2020)



                                                                                                                 Interest bearing
                                                            Interest rates          1р to 1          1 to 3           310 12      1 to 5 уеаг         Тона1         Non-interest
                                                                                                                                                                                         Тона1
     30 Qaws 1399 (20 December 2020)                             (р.а)              month           months           months                                           bearing
                                                    Но1е                                                                           (А1 in'000')
     Financial liabilities
     Сипепсу in circuiation                          1б            -                      -                                -                               -         293,341,380      293,341,380
     Capital notes                                   17      0.79 - 3.80%          13,554,173        5,793,346      26,501,865                      45,849,384                         45,849,384
     0ие to banks апд financial institutions         18          0.1°/о             9,927,375              -               -                         9,927,375        90,151,823      100,079,198
     0ие to customers                                19                                   -                                                                -         144,323,269      144,323,269
     'МЕ related liabilities                         20                                                                                                                3,692,126        3,692,126
     0е8пе contribution oЫigation                    21                                                                                                                1,909,843        1,909,843
     Provisions апд other liabilities                23                                    -               -               -                               -           1,567,667        1,567,667
                                                                                    23,481,548       5,793,346      26,501,865                      55,776,759       534,986,108      590,762,867
     Оп baiance sheet interest sensitivity gap                                    151,789,571       80,012,384     103,235,056    171,512,988      506,549,999      (437,669,885)      68,880,114

                                                                                                                 Interest bearing
                                                                                                                                                                    Non-interest
                                                             Interest rates         i. р to 1        1 to 3           3 to 12     1 to 5 уеагв        Тона1                              Тона1
                                                                                                                                                                      beering
                                                                  (Р•а)                 оп          months           months
                                                    14о1е                                                                          (Afs in '000)
     30 Оаз 1398 (21 December 2019)
     Financial assets
     Foreign сипепсу савн гезегез                     8                                    -              -                -                                          19,583,336       19,583,336
     0ие €огя banks апд financial institutions        9      -0.04 - 2.95%          99,116,201    132,167,199       78,886,455              -      310,169,855        45,776,760      355,946,615
     lnvestments                                     1о       1.38 - 3.13%                  -               -          380,138 186,624,730 187,004,868                з1,259,238      218,264,106
     Assistance аз lender of last гезог1              11           2%                                                  166,793              -          166,793                            166,793
     Advances ап' other receivaЫes                    12                                                                   -                                           1,103,394        1,103,394
     Оther assets                                     15                                                                                                                   1,849            1.849
                                                                                    99,116,201    132,167,199       79,433,386     186,624,730     497,341,516        97,724,577      595,066,093
     Financial Iiabilities
     Сипепсу in circulation                           16                                   -               -               -                                         259,348,259      259,348,259
     Capital notes                                    17      0.15 - 2.20°/о         6,533,217       8,282,550       9,959,406                      24,775,173                         24,775,173
     0ие to banks апд financial institutions          18          0.1°/о            14,569.822             -               -                        14,569.822        82,654,202       97.224.024
     0ие to customers                                 19                                   -                                                                         130,121,482      130,121,482
     'МЕ ге!а1е liabilities                           20                                                    -                                                           3,003,600        3,003,600
     Defined contribution oЫigation                   21                                                                                                               1,769,903        1,769,903
     Provisions апд other liabilities                 23                                   -               -               -                                          14.265,110       14,265,110
                                                                                    21,103,039       8.282.550       9.959.406                      39,344,995       491,162,556      530,507,551
     Оп Ьа1апсе sheet interest sensitivity gap                                      78,013,162    123,884,649       69,473,980     186,624,730     457,996,521      (393,437,979)      64,558,542

     1f the interest rate increase 1 есгеазе Ьу 100 Ьрз. the е11ес1 оп profit 1ог the уеаг игои1д have Ьееп А1з.5,065.499 million (1398: А1з.4,579.965 million) higher / 1ошег respectively.

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ОА AFGHANISTAN ВА IК
NОTES ТО ТНЕ CОNSОLIDATED FINANCIAL STATEMENTS
ЕОП ТНЕ YEAR ЕОЕО 30 QAWS 1399 (20 ОЕСЕМВЕП 2020)

  36.5   Силтепсу risk

         Сипепсу risk is the risk that the fair Уа1ие ог (книге cash 11о of ап exposure wi11 fluctuate because of changes in foreign exchange rates. Foreign сиггепсу activilies ге5 11
         mainly гого the Вап1 ' holding of foreign сиггепсу азе1 ипдег its foreign гееге management function. The overall level of these а е1 is дetermined Ьазе оп the
         prevailing ехеп1 of credit апд liquidity risks. 1п огдег to avoid 1оае5 arising from ад,егsе changes in the rates of exchange. the Bank's compliance with the limits estaЫished
          ог foreign сиггепсу positions is геЫгес] to Ье monitored Ьу the management. The 6ani has п01 entereд in to апу foreign сиггепсу hedging transaction а а] уеаг епд.



         The Bank's exposure to foreign сиггепсу risk is а follow:


                                                                USD             Его            ОВР            PKR             АЕО          Оthers            А1б             То1а1

                                                     Г4о1е                                                         (А1 n'000')
         30 Оауа 1399 (20 ОесеглЬег 2020)

         Financial assets
         Foreign сиггепсу cash геаегеа                8       32,967,164       1,076,948          6,363            144          2,092        114,630                       34,167,341
         Оие from Ьапсе апд financial inЗtilutions    9      145,125,469      52,385,389     54,712,055        853,509      1,727,817                                     254,804,239
         lnveslments                                  1о     367,379,852              -              -                                     1,433,928                      368,813,780
         Assistance а 1епдег of last resort           11                                                                                          -           170,154         170,154
         Ас1апсеЗ апд other receivaЫes                12                                                                                                    1,715,346       1,715,346
         О11гегааае1а                                 15                                                                                                        4,461           4,461
                                                             545,472,485      53,462,337     54,718,418        853,653      1,729,909      1,548,558        1,889,961     659,675,321
         Financial liabilities
         Сипепсу in circulalion                       16                                                                                                 293,341,380      293,341,380
         Capital notes                                17                             -              -                                                     45,849,384       45,849,384
         Оие !о Ьап) апд financial inslitutions       18       45,917,309      8,496,545        177,046            753                           -        45,487,545      100,079,198
         Осе 1о соа1оглега                            19       79,810,670      1,499,406          1,125         10,762                     2,585,400      60,415,906      144,323,269
         'МЕ related liabilities                      20                             -              -                                      3,605,108          87,018        3,692,126
         Defined contribution oЫigation               21                                                                                         -         1,909,843        1,909,843
         Provisions апд other liabilities             23         117,480             -              -                                            -         1,450,187        1,567,667
                                                             125,845,459       9,995,951        178,171         11,515                     6,190,508     448,541,263      590,762,867

          е1 foreign сиггепсу exposure                       419,627,026      43,466,386     54,540,247        842,138      1,729,909      (4,641,950)   (446,651,302)     68,912,454




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оА AFGHANISTAN ВАИК
NОTES ТО ТНЕ CОNSО11DATED FINANCIAL STATEMENTS
 О! ТНЕ УЕА1 ENDED 30 QAWS 1399 (20 ОЕСЕМВЕ 2020)


                                                             USD           Еиго         3ВР        РКР          АЕО       Оthers          А             Тона1
                                                   11о е                                              (Аfs in 000')
       30 Qaws 1398 (21 December 2019)

       Financial аззе
       Foreign сиггепсу савн reserves               8       19,092,139      365,347        6,296       151        2,136     117,267                    19,583,336
       Due €огп banks and financial institutions    9      250,218,549   49,455,971   53,938,565   880,667    1,452,863         -                     355,946,615
       Investments                                  10     216,830,178          -                      -            -     1,433,928            -      218,264,106
       As5istance аз 1епдег ы 1аз гезог             11                                                                                     166,793        166,793
       Ад',апсе5 апд other receivaЫes               12                                                                                   1,103,394      1,103,394
       Оther assets                                 15                                                                                       1,849          1.849
                                                           486,140,866   49,821,318   53,944,861   880,818    1,454,999   1,551,195      1,272,036    595,066,093
       1 1папсiдl IiaЫliti@S
       Сипепсу in circulation                       16                                                                                259,348,259     259,348,259
       Capital notes                                17                          -                      -                               24,775,173      24,775,173
       Due to banks апд financial institutions      18      38,273,368    8,959,923     175.174        788                             49,814,771      97,224,024
       Due to customers                             19      84,536,721    3,198,626       4,556     10,977                    5,382    42,365,220     130,121,482
       IMF reiated liabilities                      20                          -                      -                  2,916,581        87,019       3,003,600
       Defined contribution oЫigation               21                                                                                  1,769,903       1,769,903
       Provisions апд other liabilities             23         105,517          -                      -                               14,159,593      14,265,110
                                                           122,915,606   12,158,549     179,730     11,765                2,921,963   392,319,938     530,507,551

       Net foreign сипепсу ехрозпге                        363,225,260   37,662,769   53,765,131   869,053    1,454,999   (1,370,768) (391,047,902)    64,558,542

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ВА АFОНАИ1SТАИ ВАИК
NOTES ТО ТНЕ CONS0l.IDATE0 FIИANCiAI STATEMEИTS
FOR ТНЕ УЕАП ЕИОЕ0 30 ОАЧ5 1399 (20 ОЕСЕМВЕ                    2020)



  36.5.1 Sensitivity analysis оп foreign сиггепсу financial assets апд liabilities

         А 1% псгеае in the exchange га1е3 Ы USD, Еиго, ОВР, РКГ апд АЕО Ы 20 December 2020 woul а'е increased 1 (бесгеае) equity апд prof"it 1у the amounts shown
         below. ТЫ analysis is Ьае оп foreign сиггепсу exchange rate variances that the Вап сопЫегеб to Ье геавопаЫу possiЫe Ы the епд о( the reporting period. The analysis
         assumes that а11 other variaЫes, in particular interest га1е , remain соп1ап1.

                                                               USD            Еиго         ОВР         РК            АЕО          Others           А              Total
                                                                                                            (А1 n '000')
         30 Оа$ 1399 (20 December 2020)

         ЕНес1 Ы 1% increase in exchange rate

         Financial assets
         Foreign сиггепсу cash reserves                          329,672        10,769          64              1           21        1,146                        341,673
         0ие гогя Ьап1< апд financial institutions             1,451,255       523,854     547,121          8,535      17,278           -                        2,548,043
         Investments                                           3,673,799           -                                      -          14,339                      3,688,138
         Assislance аз 1епдег Ы last resort                          -
         Advances апд other receivaЫes
         Other assets
                                                               5,454,726       534,623     547,185          8,536      17,299        15,485                       6,577,854

         Financial liabilities
         Сие to banks апд financial institutions                (459,173)       (84,965)    (1,770)            (8)         -                            -          (545,916)
         Вне to снз1оглегб                                      (798,107)       (14,994)       (11)          (108)                   (25,854)                      (839,074)
         ‚МЕ related liabilities                                                     -         -                                     (36,051)                       (36,051)
         Defined contribution oЫigation
         Provisions апд other liabilities                         (1,175)                                                                                            (1,175)
                                                              (1,258,455)       (99,959)    (1,781)          (116)                   (61,905)                    (1,422,216)

         Effect оп Equity 1 Profit                             4,196,271       434,664     545,404          8,420      17,299        (46,420)                     5,155,638

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ОА AFGHAWISTAN BANK
 ОТЕ5 ТО ТНЕ /ONSO1a0ATED FINANIAL STATEMENTS
FOI ТНЕ УЕАП ЕЫОЕО 30 ОА $ 1399 (20 ОЕСЕМВЕ                     2020)



                                                                USD            Еиго           ОВР            РКР           АЕО           ОИ1ег5          Аfs    Тона1
                                                                                                                (Аfs in '000')
         30 Оа*5 1398 (21 December 2019)

         Еес of 1% increase in exchange гаме

         Financial assets
         Foreign сипепсу cash reserves                           190,921          3,653            63               2             21         1,173               195,833
         0е from banks апд financial institulions              2,502,185        494,560       539,386           8,807            -             -               3,544,938
         lnvestments                                           2,168,302                                                                    14,339             2,182,641
         Assistance аз 1епдег of 1аз гезог                           -
         Advances апд оег receivaЫes
         Other assets
                                                               4,861,408        498,213       539,449           8,809             21        15,512             5,923,412

         Financial liaЫlities
         Сие to banks апд financial institulions                (382,734)       (89,599)        (1,752)            (8)                                          (474,093)
         0ие to сзоглегз                                        (845,367)       (31,986)           (46)          (110)                            (54)          (877,563)
         'МЕ ге1ае1 liabilities                                                                                                             (29,166)             (29,166)
         Ое1пе contribution oЫigation                                -
         Provisions апд other liabilities                         (1,055)           -                             -                                                (1,055)
                                                              (1,229,156)      (121.585)        (1,798)          (118)                      (29,220)           (1.381,877)

         Effect оп Equity / Рго                                3,632,252        376,628       537,651           8,691             21        (13,708)           4,541,535

  36.5,2 Е(ес1 of 1% decrease in exchange гаез ид11 have same е(ес1 оп пе unrealised gains / (losses) Гог both уеагз Ьин in opposite direction.                         UNy




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ОА AFGHANISTAN ВАИК
ЫОТЕ$ ТО ТНЕ CONSOLIDATED F1IANCIAL STATEMENTS
ГОП ТНЕ УЕА                   30 QAWS 1399 (20 ОЕСЕМВЕР 2020)



37.   ОАТЕ ОЕ AUTHORISATION ЕОР ISSUE

      These financial statements    еге authorised ог issue Ьу the Supreme Council of the Group оп 14 March 2021.


38. EVENTS АЕТЕ ТНЕ REPORTING ОАТЕ

      Subsequent to the аеглеп о nancial position са1е, по ееп1з            а"е occurred which require adjustments to/ог
      disclose in the financial з1а1егпеп1 .

39. GENERAL

      Figures have Ьееп го       до    o the пеаге$1 thousand, except а otherwise mentioned лу




            Abdul Еаiпi i Barhaq                                                     Аjф1 Аfi~b`аду
           Ac ting Chief Fi ancial Officer                                           Асгд Governor




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